                   EXHIBIT A




Case 3:16-cv-00121-TAV-DCP Document 142-1 Filed 06/14/19 Page 1 of 113 PageID #:
                                    11568
                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE
                             KNOXVILLE DIVISION




     LEWIS COSBY, KENNETH R. MARTIN,              )
     as beneficiary of the Kenneth Ray Martin     )
     Roth IRA, and MARTIN WEAKLEY on              )
     behalf of themselves and all others          )
     similarly situated,                          )
                                                  )
                Plaintiffs,                       )
                                                  )
     v.                                           ) No.: 3:16-CV-121-TAV-DCP
                                                  )
     KPMG, LLP,                                   )
                                                  )
                Defendant.                        )




             EXPERT REBUTTAL REPORT OF CHAD COFFMAN, CFA




                                  June 14, 2019




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      I.      INTRODUCTION

             1.     On March 15, 2019 and April 19, 20191, I submitted expert reports in this matter in

  which I opined: (1) that the markets for Miller Energy Securities2 were efficient during the

  Analysis Period3; and (2) that damages in this case could be calculated for both the Section 10(b)

  Class and the Section 11 Class pursuant to class-wide approaches consistent with Lead Plaintiffs’

  claims.4

             2.     Despite Defendant’s attempt to characterize my methodology as unreliable and

  containing many errors, the reality is that, out of many thousands of calculations and

  assessments, I made two errors in my Initial Report that impacted my calculations. Neither was

  an error in the general methodology I employed to analyze market efficiency.5 Instead, one error

  involved assigning an incorrect market date to a single Miller Energy earnings announcement,

  and the other was the inadvertent exclusion of two sources cited in the Complaint when assessing

  which days during the Analysis Period contained news. I readily admitted to the inadvertent

  errors, corrected them in a new report, and empirically demonstrated that my ultimate


  1
   On March 15, 2019, I submitted an expert report in this matter (my “Initial Report”). On April 19, 2019, I
  submitted a corrected report (the “Coffman Report” or my “Report”), which replaced my Initial Report.
  2
    As in my Report, the term Miller Energy Securities refers to Miller Energy common stock (“Miller Energy
  Common Stock” or “Common Stock”) and Miller Energy’s two preferred securities (“Miller Energy Preferred
  Securities” or “Preferred Securities”): Miller Energy 10.75% Series C Cumulative Redeemable Preferred Stock
  (“Miller Energy Series C Preferred Stock” or “Series C Preferred Stock”), and Miller Energy 10.5% Series D Fixed
  Rate/Floating Rate Cumulative Redeemable Preferred Stock (“Miller Energy Series D Preferred Stock” or “Series D
  Preferred Stock”).
  3
    The stated Class Period in the Second Amended Class Action Complaint is August 29, 2011 – October 1, 2015,
  however, in my Report, I opined on market efficiency from the beginning of the Class Period through July 30, 2015
  (i.e. the market date before Miller Energy Securities were delisted from the New York Stock Exchange). This
  timeframe is the Analysis Period.
  4
      Unless otherwise defined herein, all capitalized terms shall have the meanings given to them in the Report.
  5
   This methodology has led to successful class certification in dozens of securities litigation matters. For example,
  Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D.Tenn.); Hatamian v. Advanced Micro
  Devices, Inc., No. 4:14-cv-00226 (N.D. Cal.); Laborers Pension Trust Fund – Detroit, vs. Conn’s, Inc., 4:14-cv-
  00548 (S.D. Tex.); and Leon D. Milbeck v. TrueCar Inc, No. 2:18-cv-02612 (C.D. Cal.), to name but a few.



                                                          4

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  conclusions and opinions were unaffected by the errors. My overall methodology was unaltered.

  While I strive for perfection, that does not always occur.6

          3.     Following the submission of my Report, counsel for Lead Plaintiffs provided me

  with a copy of the May 13, 2019 Expert Report of Dr. Mukarram Attari, Ph.D. (the “Attari

  Report”) prepared in connection with Defendant’s Opposition to Plaintiffs’ Motion for Class

  Certification, and the sworn deposition transcript of Dr. Attari taken on June 4, 2019 (“Attari

  Deposition”), and asked me to review and respond to the Attari Report and Attari Deposition. In

  summary, nothing contained in the Attari Report or Attari Deposition changes the opinions I

  have offered in this matter. The remainder of this Rebuttal Report provides my response to the

  Attari Report and Attari Deposition.

          4.     In formulating my opinions set forth in this Rebuttal Report, I relied upon my

  Report and my knowledge, experience, and formal training in economics, finance, and statistics,

  as well as the allegations and facts set forth in this lawsuit. In performing the analyses set forth in

  this Rebuttal Report, I also considered: (1) the Attari Report; (2) data, analyses, and back-up

  materials provided by Dr. Attari to counsel for Lead Plaintiffs that Dr. Attari claims to have

  considered in connection with his analyses; (3) the Attari Deposition; and (4) other relevant

  materials and information. All of the materials that I relied upon and considered in reaching my

  opinions in this Rebuttal Report are identified in the attached Appendix A, as well as in the

  Appendices to my Report.

          5.     Global Economics Group is being compensated at an hourly rate of $800 per hour

  for my work on this matter, and at rates between $170 and $450 per hour for members of my



  6
    The correction of these two errors impacted a number of subsequent calculations in my Report. The changing of
  these numbers does not reflect independent errors. Based upon my review, I also made certain non-substantive
  corrections that did not influence any calculations or outcomes in any way.

                                                     5

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  staff who performed work in connection with this Rebuttal Report under my direction and

  supervision. My compensation is in no way contingent on the outcome of this case or the

  opinions offered.

             6.     I reserve the right to amend this Rebuttal Report, including to reflect new

  information that becomes available to me in light of the discovery process or future rulings from

  the Court.

      II.     DR. ATTARI DOES NOT DISPUTE THAT THE MARKET FOR MILLER
              ENERGY COMMON STOCK WAS EFFICIENT

              A. DR. ATTARI DOES NOT DISPUTE THAT MY ANALYSIS OF THE
              CAMMER AND KROGMAN FACTORS DEMONSTRATES THAT THE
              MARKET FOR MILLER ENERGY COMMON STOCK WAS EFFICIENT

             7.     Dr. Attari provides no evidence or opinions to contradict my opinion of market

  efficiency for Miller Energy Common Stock. Indeed, he either readily concedes, or does not

  dispute, my findings for the Cammer and Krogman factors as they relate to Miller Energy

  Common Stock:

                          a. Dr. Attari affirmatively concurs that the average weekly trading volume

                                  for Miller Energy Common Stock surpassed the threshold level necessary

                                  for an efficient market (Cammer Factor 1).7

                          b. Dr. Attari agrees that a number of analysts covered Miller Energy

                                  Common Stock throughout the Analysis Period (Cammer Factor 2).8




  7
      Attari Deposition 24:4-8.
  8
   Attari Report ¶171 and Attari Deposition 25:5-7. “Mr. Coffman has said there were – whatever – 10 or 15 analysts
  covering it…And I’m not disputing it in this report, yes.” Attari Deposition 26:2-7.



                                                       6

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                           c. Dr. Attari does not dispute my conclusion that Miller Energy Common

                               Stock met the market maker factor (Cammer Factor 3).9

                           d. Dr. Attari does not dispute that Miller Energy Common Stock traded on

                               the NYSE throughout the Analysis Period10 and that the NYSE has rules

                               that virtually guarantee a liquid market.11

                           e. Dr. Attari does not dispute that Miller Energy was able to file a Form S-3

                               throughout the majority of the Analysis Period (Cammer Factor 4).12

                               Additionally, Dr. Attari incorrectly states that when a company falls below

                               a market capitalization of $75 million, it is ineligible to file a Form S-3.13

                               In fact, the SEC does allow companies that have previously filed a Form

                               S-3, but have since fallen below $75 million in market value, to remain

                               Form S-3 eligible provided that they follow certain guidelines.14 Despite

                               Dr. Attari’s flawed criticism, he acknowledges that Miller Energy was S-3

                               eligible for the majority of the Analysis Period15 and offers no economic

                               logic for why short-term S-3 ineligibility would impede the market from

                               remaining efficient.



  9
   Attari Deposition 60:19-23. (“Q: In your report, you don’t dispute that the number of market makers of Miller
  Energy’s common stock meets the standard under Cammer; correct? A: I don’t dispute that, yes.”)
  10
       Attari Deposition 114:20 – 115:2.
  11
    Attari Deposition 115:22 – 116:3 (“Q: In the EGC case we were discussing earlier, you claimed that the courts
  recognize that securities that trade or [are] listed on the New York Stock Exchange are likely to be efficient, didn’t
  you? A. Likely to be, yes.”)
  12
       Attari Deposition 66:1-8, 12-14.
  13
       Attari Report ¶¶191-192.
  14
     https://www.sec.gov/divisions/corpfin/guidance/safinterp.htm (accessed June 10, 2019) (“An issuer with less than
  $75 million in public float is eligible to use Form S-3 for a primary offering in reliance on Instruction I.B.6, which
  permits it to sell no more than one-third of its public float within a 12-month period.”)
  15
       Attari Deposition 66:1-8, 12-14.

                                                        7

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                         f. Dr. Attari does not dispute that there is a cause and effect relationship

                             between new news and changes in the market price for Miller Energy

                             Common Stock (Cammer Factor 5). More specifically, while Dr. Attari

                             makes a general (and incorrect) criticism of the threshold I use to evaluate

                             cause and effect (which I have used in dozens of other certified class

                             actions), Dr. Attari does not dispute the results of my statistical tests

                             demonstrating that:

                                  •   Miller Energy Common Stock is statistically significantly more

                                      likely (with over 95% confidence) to experience a statistically

                                      significant price movement on earnings announcement dates than

                                      “no news” dates.16

                                  •   Miller Energy Common Stock experienced statistically

                                      significantly (with over 95% confidence) greater volume on

                                      earnings announcement dates than “no news” dates. I have shown

                                      that the market price of Miller Energy Common Stock is more



  16
     See Coffman Report ¶¶74-75. Defendant makes note of the fact that I found that less than 50% of the earnings
  announcements had a statistically significant price movement, but this is an irrelevant threshold (KPMG LLP’S
  Memorandum of Law in Support of its Motion to Exclude the Reports and Testimony of Chad Coffman, filed May
  21, 2019 No. 3:16-cv-00121-TAV-DCP (E.D. Tenn)). Indeed, there are numerous reasons why many earnings
  announcements may not be statistically significant that are entirely consistent with market efficiency. For example,
  as mentioned in my Report and as Dr. Attari testified, the information released may have been largely consistent
  with expectations, there may have been a mix of positive and negative information, or the market may be focused
  largely on other factors (Coffman Report ¶¶74-75, Attari Deposition 130:8-132:3). The financial economics
  literature is clear that there is no theoretical or mathematical reason to believe that the fraction of news days
  associated with statistically significant returns should exceed fifty percent in an efficient market (See Tabak, David.
  “What We Should Expect When Testing for Price Response to News in Securities Litigation,” NERA Economic
  Consulting, 2016 pp. 1-17.). Dr. Attari further acknowledges that he does not know of, and has not calculated, an
  appropriate threshold and admits that should a threshold be calculated, it may even be less than fifty percent (Attari
  Deposition 123:1-128:12.) The fact that less than fifty percent of earnings announcements were associated with
  statistically significant price movements for Miller Energy Common Stock does not impact my finding that there
  was a cause and effect relationship between new news and Miller Energy Common Stock.



                                                        8

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                                        likely to experience statistically significant price movements, have

                                        price movements that are larger, and experience greater volume on

                                        earnings announcement dates than “no news” dates. Beyond these

                                        scientific tests, Dr. Attari does not even address other clear and

                                        convincing examples from my Report that further demonstrate a

                                        clear cause and effect relationship.17 Put simply, Dr. Attari does

                                        not opine there is a lack of cause and effect relationship between

                                        new information and the market price of Miller Energy Common

                                        Stock, and he does not dispute the results of the statistical tests I

                                        conducted.

                             g. Dr. Attari does not dispute that 181 institutions reported owning Miller

                                Energy Common Stock during the Analysis Period and that this substantial

                                level of institutional ownership supports a conclusion of market efficiency

                                (Krogman Factor).18

                             h. Dr. Attari mischaracterizes my report when he claims that I do not

                                consider the public float of Miller Energy Common Stock in my analysis

                                of market efficiency (Krogman Factor).19 Exhibit 16 of my Report

                                analyzes the shares outstanding, insider and institutional holdings, and

                                public float of Miller Energy Common Stock. Throughout the Analysis

                                Period, insiders held, on average, 21.3% of all shares outstanding of Miller

                                Energy Common Stock, meaning that 78.7% of shares were held by non-


  17
       See Coffman Report ¶¶vi -xiii.
  18
       Attari Deposition 82:5-12.
  19
       Attari Report ¶124.

                                                       9

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                               insiders. This large percentage of shares held by non-insiders supports a

                               finding of market efficiency, and Dr. Attari does not dispute this further.

                          i. Dr. Attari does not dispute that the bid-ask spread for Miller Energy

                               Common Stock was reasonably low (Krogman Factor).20 He does not

                               dispute that the average percentage bid-ask spread for Miller Energy

                               Common Stock in each month was between 0.1535% and 1.7477%. He

                               does not dispute that prior to the market prices of Miller Energy Securities

                               substantially falling, the bid-ask spread for Miller Energy Common Stock

                               was below the average bid-ask spread of a random sample of 100 other

                               common stocks trading on the NYSE and NASDAQ in December 2014, as

                               illustrated in my Report. Dr. Attari does not dispute that this factor

                               provides evidence that Miller Energy Common Stock traded in an efficient

                               market throughout the Analysis Period.

             8.     Finally, while neither a Cammer Factor nor a Krogman Factor, Dr. Attari does not

  dispute that there was option trading in Miller Energy Common Stock during the Analysis

  Period.21 Additionally, he does not dispute that the existence of active option trading in Miller

  Energy Common Stock provides evidence supporting efficiency.

             9.     In sum, Dr. Attari either concedes or does not dispute the evidence provided in my

  Report that the Cammer and Krogman factors set out by the courts are satisfied for Miller Energy

  Common Stock.




  20
       Attari Deposition 78:8-17.
  21
       Attari Deposition 96:6-10.

                                                     10

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             B. MY CALCULATION OF THE MILLER COMMON STOCK ABNORMAL
                RETURN ON OCTOBER 24, 2011 WAS PROPER

             10.    Although he does not dispute that the market for Miller Energy Common Stock was

  efficient, Dr. Attari criticizes the method by which I calculated an abnormal return on a single

  day for Miller Energy Common Stock.22 My treatment of this day is a matter of valid, statistical

  judgment. When confronted with missing values for a control index, there are several different

  options for handling the issue. For the next day in which the value for the control index appears,

  one could throw out the return for that day (and lose part of the sample) or use the multiple-day

  return for the control index, but understand it may introduce some level of potential

  measurement error into the model.23 In this particular case, my judgment was that including a

  multiple day return in the Oil Price Index did not introduce substantial measurement error. This

  judgment is borne out by the fact that my results are robust to either treatment. Furthermore, the

  missing index data issue is not present at all if the NYMEX WTI Oil Index is used and, as

  reflected in Rebuttal Exhibit 1, the conclusions from my cause and effect analysis are

  unaltered.24




  22
       Attari Report §IV.C.4.
  23
    In this context “measurement error” is a statistical concept that is distinct from a computational error. All models
  have some level of measurement error because they are models that rely on underlying statistical assumptions. See
  Greene, William, Econometric Analysis, MacMillan, 1990, p. 293. (“Thus far, it has been assumed (at least
  implicitly) that the data used to estimate the parameters of our models are true measurements on their theoretical
  counterparts. In practice, this happens only in the best of circumstances. All sorts of measurement problems creep
  into the data that must be used in our analyses.”)
  24
     Dr. Attari correctly notes that the two days with missing abnormal returns were incorrectly treated as no news
  days with statistically significant abnormal returns. Again, using the NYMEX index eliminates this issue and even
  if I simply correct the original treatment it strengthens the evidence of a cause and effect relationship.

                                                       11

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   III.       I DEMONSTRATED THAT THE MARKETS FOR MILLER ENERGY SERIES
              C AND SERIES D PREFERRED SHARES WERE EFFICENT AND DR.
              ATTARI’S CRITICISMS ARE EITHER MISPLACED, MISLEADING, OR
              INCORRECT

             A. MILLER PREFERRED SECURITIES WOULD NOT BE EXPECTED TO
                REACT TO EARNINGS ANNOUNCEMENTS PRIOR TO CONCERNS
                ABOUT SOLVENCY

             11.    In my Report, I explained using economic logic why one would not expect to see

  the market price of Miller Energy Series C and Series D Preferred Stock react to earnings

  announcements.25 As explained in my Report, as a general matter, one would not expect Miller

  Energy Preferred Securities to react to changes in earnings that did not cause the market to

  question the solvency of the firm. Dr. Attari never addresses this logic from my Report and

  simply suggests, without economic support, that in an efficient market one would expect

  preferred stock to react to earnings announcements.26 This is demonstrably false and

  inconsistent with economic theory.

             12.    As I explained in my Report, for non-convertible debt-like securities (which applies

  to Series D) or for convertible debt-like securities where the common stock price is below where

  conversion to common would be profitable (which applies to Series C), investors in preferred

  shares would (unlike common shareholders) not receive any higher expected cash flows from a

  positive earnings surprise. This flows directly from the basic valuation principle that all

  securities are valued based upon the expected future cash flows to those security-holders,

  discounted at the appropriate rate.27 As described in the Coffman Report, Miller Energy


  25
       Coffman Report ¶51.
  26
       Attari Report ¶¶134-135, 141.
  27
    Reilly, Frank K. and Keith C. Brown, Investment Analysis and Portfolio Management, The Dryden Press, Sixth
  Edition, 2000, p. 82; Brealey, Richard A. and Stewart C. Myers, Principles of Corporate Finance, McGraw-Hill,
  1988, Third Edition, pp. 308-309.



                                                    12

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  Preferred Securities are entitled to the payment of preferred dividends and eventually the

  redemption value.28 Only common stockholders are entitled to residual earnings over and above

  what is necessary to service debt and preferred securities. As a result, all else being equal, an

  additional dollar of earnings at the margin would have no influence on the market value of

  preferred securities. Likewise, a negative earnings surprise, as long as it was not sufficiently

  large to call into question the payment of preferred dividends, would not lower the expected cash

  flows to preferred shareholders.29 Dr. Attari does not, and cannot, refute this most

  straightforward application of basic valuation concepts to the Miller Energy Preferred Securities.

          13.    However, this economic logic changes once the market begins to question whether

  there will be enough resources to continue paying preferred dividends. A clear signal of this

  market concern occurs when preferred shares start trading substantially below their redemption

  value, because it reflects the market’s belief that the cash available to satisfy preferred dividends

  and redemption of the preferred shares is more uncertain.30 In those circumstances, the

  availability of cash flows to pay preferred dividends is more closely tied to the short-term

  financial prospects of the firm. As such, one would expect greater sensitivity to earnings

  announcements. This is precisely the logic and rationale for (1) considering different events

  before and after the preferred securities started trading below their redemption value and (2) why


  28
    Miller Energy Series C Preferred Stock may have also become sensitive to earnings announcements had the
  Common Stock approached or exceeded $10 per share because of the conversion features outlined in its prospectus.
  However, Miller Energy Common Stock did not reach that value during the Analysis Period. Series D Preferred
  Stock, meanwhile, was non-convertible and was therefore not sensitive to any conversion feature. For further
  information on the terms and conditions of Miller Energy Series C and Series D Preferred Stock, please see
  Appendix C from my Report.
  29
    Attari Deposition 132:17-21 (“So preferred stockholders get paid after debt holders have been paid but before
  common stockholders are paid. They typically have a stated dividend.”)
  30
    Emanuel, David. “A Theoretical Model for Valuing Preferred Stock.” The Journal of Finance, vol. 38, no. 4,
  1983. See also “How to Play Preferreds”, MoneyShow, 2017. (“If [a preferred share is] trading significantly below
  par, investors may have concerns about the company’s creditworthiness.”).



                                                      13

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  I did not consider earnings announcements prior to October 15, 2014 as a meaningful or

  statistically powerful set of dates to consider.31 Therefore, Dr. Attari’s analysis of the earnings

  announcements and whether they did not cause a statistically significant price movement for the

  preferred shares is neither surprising nor informative as to whether there was a cause and effect

  relationship for Miller Energy Preferred Securities. Moreover, Dr. Attari admits that “the

  information relevant to investors in Miller Energy’s common stock and the preferred stock was

  different” and that investors in the Preferred Securities need information besides earnings

  announcements to evaluate the debt component of the preferred securities.32

             B. DR. ATTARI MISCHARACTERIZES MY REFERNCES TO THE
                APPLICABLE DISCOUNT RATE AND THE TIME VALUE OF MONEY

             14.    Dr. Attari also misleadingly asserts that my Report suggested that the market price

  of Miller Energy Preferred Securities should only be impacted by risk-free interest rates prior to

  October 15, 2014.33 My report makes no such suggestion. As quoted by Dr. Attari, I state,

  “from the time of the issuance of each of the Preferred Securities to the time where the market

  prices substantially fall below the par value (and therefore indicating an increased risk of

  default), market price would be driven primarily by changes in the time value of money (i.e. the

  applicable discount rate).”34 Basic valuation theory explains that the “applicable discount rate”

  for a security incorporates both risk free rates and the relevant security-specific risk premium.35

  Any suggestion that I was referring only to risk free rates is misleading and incorrect (indeed I


  31
    By statistically powerful, I mean that it would have little ability to distinguish between a market where there was a
  cause and effect relationship and one that did not.
  32
       Attari Report ¶173.
  33
       Attari Report ¶139.
  34
       Attari Report ¶136. Emphasis added.
  35
       Brealey et al. Principles of Corporate Finance, Tenth Edition, McGraw-Hill, 2010, Chapter 3.



                                                        14

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  never even mention the term “risk-free rate”). As a result, the analysis performed by Dr. Attari

  to show that returns of Miller Energy Preferred Securities were not correlated with risk free rates

  proves nothing, and is not at all inconsistent with any statement in my Report.36 I never

  suggested risk-free rates alone could or would explain the returns of the Preferred Securities.37

             C. DR. ATTARI’S CLAIM THAT I ENGAGED IN DATA SNOOPING IS
                UNSUPPORTED AND FALSE

             15.    Dr. Attari also falsely asserts without any evidence that I may have engaged in data

  snooping to determine which events to test.38 My Report clearly identified the objective criteria I

  used to determine the news dates I tested for Miller Energy Preferred Securities. Moreover, the

  selection criteria flow naturally from my discussion of how preferred stocks differ from common

  stocks and what types of news would be expected to impact preferred shares – a fact that Dr.

  Attari conceded at his deposition.39 Again – my criteria was: “firm-specific events that clearly

  updated the market regarding the ability of the Company to continue paying dividends or for the

  securities to continue trading on the exchange.”40 Dr. Attari provides no authority or economic

  rationale to reject considering events related to dividend policy as an objective set of dates to

  test. Dr. Attari does not dispute that information about delisting would be relevant to a valuation

  of Miller Energy Preferred Securities. Dr. Attari’s suggestion that the delisting itself did not



  36
       Attari Report ¶¶138-139.
  37
     To the extent Dr. Attari is interpreting my use of the phrase “time value of money” to specifically mean a “risk-
  free rate”, he is simply wrong. The discount rate (which I clearly reference in my Report as a synonym for what I
  meant by time value of money) is the rate at which an investor in the Preferred Securities is willing to trade money
  today for money tomorrow within the context of an investment in the Preferred Securities. That is the relevant “time
  value of money” or “yield” necessary to compensate the investor for use of their capital. See Brigham, Eugene F.
  and Joel F. Houston. Fundamentals of Financial Management, Eighth Edition, The Dryden Press, 1998, Chapter 6.
  38
       Attari Report ¶132.
  39
       Attari Deposition 135:5-18.
  40
       Coffman Report ¶52.



                                                      15

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  provide unexpected news is simply wrong and inconsistent with the facts.41 There are many

  cases in which a notice of potential delisting does not lead to an actual delisting.42

             D. DR. ATTARI’S SUGGESTION THAT THERE IS NO SUPPORT FOR THE
                TESTS I PERFORM IN EXHIBIT 10 AND 12 OF MY REPORT IS SELF-
                CONTRADICTORY, IGNORES THE MOST BASIC PRINCIPLES OF
                HYPOTHESIS TESTING, AND IS INCONSISTENT WITH CASE LAW

                              i.    DR. ATTARI CONTRADICTS HIMSELF WHEN HE FALSELY
                                    CLAIMS THERE IS NO LITERATURE TO SUPPORT MY
                                    TESTS


             16.    Dr. Attari acknowledges that there is literature specific to class action securities

  cases published by a firm typically associated with defense experts describing the methodology I

  employed to test for cause and effect and finding that it is both valid and superior to methods that

  historically were used to establish market efficiency in this context.43 He also acknowledges that

  the methodology I employed has been evaluated and accepted by numerous courts over many

  years.44 The literature that Dr. Attari cites claims that “what is needed, therefore, is a test that

  examines the response of the stock price to news…. In the case of testing whether there is a

  cause and effect relationship between news and movements in a stock price, this means not

  simply finding a case where there was news and a stock price movement, but finding two


  41
       See Section V below.
  42
    Sanger, Gary C. and James D. Paterson, “An Empirical Analysis of Common Stock Delistings,” The Journal of
  Financial and Quantitative Analysis, Vol. 25 (2), 1990 pp. 262-272. (“The period 1962-1985, a total of 363 NYSE
  and ASE firms fell below their respective aggregate market value requirements. Of these, 225 were delisted.” p. 263
  fn.1) For more recent evidence of stocks regaining compliance with the NYSE and NASDAQ following a delisting
  notification see “ReWalk Robotics Regains Compliance with Nasdaq Listing Rules 5550(a) and 5550(b),” Globe
  Newswire, April 26, 2019; “Camber Energy, Inc. Announces That It Has Regained Compliance with All NYSE
  American Continued Listing Standards,” Accesswire, June 5, 2019; and “Novan Achieves Compliance with Nasdaq
  Listing Rule 5450(b)(2)(A),” Globe Newswire June 6, 2019.
  43
    Due to its specific and limited applications outside its scope, it is unsurprising that the specific methods used to
  establish market efficiency in the niche area of class action securities cases has not been the subject of peer reviewed
  economic literature.
  44
       Attari Deposition 121:5 - 122:6.



                                                        16

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  samples of defendant’s stock prices-one with news and one without-and testing whether the price

  movements for the two samples are distinguishable.”45 This is precisely the methodology I utilize

  in my Report.

          17.    Dr. Attari’s criticism of my methodology also ignores that the test I perform is a

  standard hypothesis test that is ubiquitous in applications of the scientific method, and is entirely

  consistent with the literature he cites. For example, my approach is akin to the tests used to

  evaluate drug products. The news dates represent the “treatment” group and the no news dates

  represent the “placebo” group. My tests show that there are statistically significant differences in

  outcomes between the two groups. This is quintessential hypothesis testing that is described in

  basic statistical textbooks.46

          18.    In addition, Dr. Attari’s criticism ignores that the methodology I employed is

  endorsed in the academic literature that he himself cited. For Dr. Attari to suggest there is “no

  support” for my methodology is disingenuous and misleading. Further, his suggestion that I am

  using a “low threshold” is directly contradicted by the fact that I am requiring the news dates to

  be statistically significantly different than the no news dates at the standard level used for

  hypothesis testing – namely, that I can reject with 95% confidence that the price movements on

  the news dates are the same as the price movements on the no-news dates. This test is




  45
    Ferrillo, Paul A., Frederick C. Dunbar, PhD, and David Tabak, PhD, “The ‘Less Than’ Efficient Capital Markets
  Hypothesis: Requiring More Proof From Plaintiffs In Fraud-On-The-Market Cases,” St. John’s Law Review, Vol.
  28(1), 2004. See also David Tabak, “Use and Misuses of Event Studies to Examine Market Efficiency,” NERA
  Economic Consulting, September 11, 2009.
  46
    Tabak, David I. and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” in
  Litigation Services Handbook, The Role of the Financial Expert, Third Edition, Wiley, 2001; MacKinlay, A. Craig,
  “Event Studies in Economics and Finance,” Journal of Economics Literature 35(1) (1997), pp. 13-39 (The null
  hypothesis is “…that the event has no impact on the behavior of returns (mean or variance)”, p. 21); Binder, John,
  “The Event Study Methodology Since 1969,” Review of Quantitative Finance and Accounting 11 (1998), pp. 111-
  137; Aharony, Joseph and Itzhak Swary, “Quarterly Dividend and Earnings Announcements and Stockholders’
  Returns: An Empirical Analysis,” The Journal of Finance 35(1) (1980), pp. 1-12.

                                                      17

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  completely in line with the literature that Dr. Attari cites, which tests for stock price movements

  at both the 90 percent and 95 percent confidence level. Again, Dr. Attari provides no authority or

  support to suggest that using the typical threshold for inference testing in scientific inquiry

  generally, and in the financial economics discipline specifically, is a “low threshold.”

             19.    Dr. Attari suggests more specifically that my comparison of absolute abnormal

  returns and trading volume do not take into account that some of the no-news dates are drawn

  from the period of time when volatility and volume were lower and, therefore, potentially bias

  my test for those measures.47 While he suggests this renders the tests “invalid”, he is wrong.48

  All statistical tests have potential sources of bias. The question is whether the bias is sufficiently

  large to render the test unreliable. Rebuttal Exhibits 2 and 3 show that even if I perform the

  same comparison over the post-October 15, 2014 period so that all the data are coming from the

  higher volatility and volume period, the differences between the news and no news days are still

  significant at well over the 99% confidence level. Thus, while Dr. Attari identifies a minor

  potential source of statistical bias, I controlled for that bias and it does not alter the outcome of

  the test or impact the results.


                             ii.   DR. ATTARI MISCHARACTERIZES THE “MISGIVINGS”
                                   FELT BY THE AUTHORS OF THE LITERATURE HE CITES


             20.    Dr. Attari relatedly suggests that the authors of the methodology I employed

  express “strong misgivings” about that methodology. Dr. Attari is wrong. One of the authors of

  the methodology, Dr. Tabak, recently published literature supporting the appropriateness of the



  47
       Attari Report ¶¶142-144.
  48
       Attari Report ¶159.



                                                  18

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  “FDT methodology” I used, and discusses case law where the methodology has been applied and

  upheld.49 In fact, Dr. Tabak acknowledges that the methodology I employ is similar to those

  conducted in medical studies, in that the price movements on news days (the treatment) group

  are compared to price movements on no news days (the placebo group). He expresses no

  misgivings about the validity of this methodology, which has been employed in countless

  securities cases throughout the years.

          21.    Further, while Dr. Tabak correctly explains that event studies can be improperly

  performed to determine market efficiency, my method is not subject to these criticisms. I do not

  perform a non-rigorous “proof by example”, as some experts have, where the “proof” of market

  efficiency is a list of dates that happen to contain news and a statistically significant price

  reaction.

          22.    Although Dr. Attari accuses me of potentially “data snooping” in my selection of

  news days, I did no such thing and my method is in line with the literature he cites (“Fortunately,

  the relevant academic literature is clear: first one identifies news and then measures price

  movements associated with that news”).50 Dr. Attari’s literature suggests performing an FDT test

  (i.e. the test I perform), “in which news days and non-news days are categorized into those that

  are associated with statistically significant returns and those with statistically insignificant




  49
    Tabak, David, “What Should We Expect When Testing for Price Response to News in Securities Litigation,”
  NERA Economic Consulting, 2016, pp 1-17 “More recently, courts have accepted a number of tests of market
  efficiency that directly follow the FDT Test procedures, if not citing the FDT paper directly.”
  50
    Tabak, David I. and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” in
  Litigation Services Handbook, The Role of the Financial Expert, Third Edition, Wiley, 2001.



                                                    19

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  returns.”51 Therefore Dr. Attari’s claim that my cause and effect analysis has “no scientific

  basis” is unsupported by the very literature he cites.


                           iii.   MY METHODOLOGY HAS BEEN REPEATEDLY ACCEPTED
                                  BY COURTS THROUGHOUT THE COUNTRY AND IN THE
                                  6TH CIRCUIT

             23.   Dr. Attari’s criticism of the methodology I employed ignores the substantial and

  growing volume of case law that supports its’ use.52 I, like numerous other experts, have used

  the same overall approach to evaluate cause and effect in at least 25 prior reports where the class

  has been certified.53 Indeed, in many of those cases, my approach even goes unchallenged by

  defendants.

             E. DR. ATTARI’S SUGGESTION THAT MY ANALYSIS OF
                AUTOCORRELATION IS “RIDDLED WITH ERRORS” IS UNSUPPORTED
                BY THE TEXT OF HIS OWN REPORT

             24.   Dr. Attari does not identify any “errors” in my autocorrelation analysis (see Attari

  Report ¶¶ 161-166, which does not identify any “errors”).54 Instead, his criticism centers around

  the fact that (1) I ran only one type of test for autocorrelation; (2) that a lack of autocorrelation

  alone is not evidence of semi-strong form efficiency; and (3) that my test shows some

  autocorrelation.




  51
    Tabak, David I. and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” in
  Litigation Services Handbook, The Role of the Financial Expert, Third Edition, Wiley, 2001.
   Tabak, David I, “What Should We Expect When Testing for Price Response to News in Securities Litigation”,
  52

  NERA Economic Consulting, 2016.
  53
       For example, Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D. Tenn.)
  54
     To the extent he is referring to the purported “errors” referenced in Section IV of his report, I address these below
  in this Section, as well as Sections F and G.



                                                        20

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             25.    First, while a simple test, the test I perform is a standard method to assess

  autocorrelation.55 In fact, Dr. Attari has testified previously that my method is the “most

  common” test for autocorrelation.56 It is especially relevant to the context of market efficiency,

  because it is the one factor that tests for whether there is a systematic bias in the movement of

  returns. For example, if a stock regularly responded only partially to news, it would yield

  consistent positive autocorrelation under my test. Likewise, if the market consistently over-

  reacted, that would induce systematic negative autocorrelation. While Dr. Attari speculates that

  there could be more complex ways in which the stock is autocorrelated, he does not provide any

  such evidence.57 In other words, if yesterday’s stock price movement is not a consistent predictor

  of today’s price movement, there is no a priori reason to believe that there is a relationship with

  multiple prior days.

             26.    Second, I never claim in my report that the autocorrelation analysis proves market

  efficiency. Indeed I was very clear when I stated “… since there are no bright-line tests for

  efficiency, it is important to consider the identified efficiency factors as a whole because none of

  the individual tests or metrics is determinative as to whether a particular market is efficient.”58

  However, autocorrelation is one of the many factors I analyzed and the results are consistent

  with, and therefore supportive of, market efficiency.



  55
       Gujarati, D., Basic Econometrics, Third Edition, McGraw Hill, 1995, Chapter 12.
  56
     Expert Report of Dr. Mukarram Attari, in Dalton Petrie, et al, v Electronic Game Card, Inc., et al, and Penny Pace,
  et al, v. Timothy Quintanilla, et al, No. 10‐0252 and 14‐2067, filed June 1, 2015 (C.D. California). ¶28. (“The most
  common test for autocorrelation is the one that tests if a return on a given day is predicable by the prior day’s
  return.”)
  57
    Attari Deposition 92:15-21. (“Q: Can you explain what kind of complex arbitrage opportunity would be able to
  take place where the auto correlation coefficient reverses regularly like that. A. Sitting here, I haven’t done the work
  for it.”)
  58
       Coffman Report ¶22.



                                                        21

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             27.    Finally, Dr. Attari suggests that my autocorrelation test suggests that the market for

  the Miller Energy Preferred Securities was inefficient.59 Nothing could be further from the truth.

  As described in my Report, autocorrelation can appear in security returns due to the timing of

  news or random chance, but the relevant test is whether there is evidence of systematic

  autocorrelation that would suggest an arbitrage opportunity. To have an arbitrage opportunity

  one would expect the autocorrelation to have a consistent sign (i.e. it would have to either be

  positively autocorrelated so one could employ a strategy of buying when the price is up or

  negatively autocorrelated so that one could employ a strategy of buying when the price is

  down).60 As shown in Exhibit 17-C and Exhibit 17-D of my Report, and as Dr. Attari

  acknowledged61, the sign of the autocorrelation coefficient flips signs regularly, demonstrating

  there was no consistent arbitrage opportunity.

             F. DR. ATTARI’S SUGGESTION THAT OTHER FACTORS DO NOT
                SUPPORT A FINDING OF EFFICENCY FOR SERIES C AND SERIES D IS
                INCORRECT

             28.    Dr. Attari acknowledges the high average trading volume of Miller Energy

  Preferred Securities.62 Indeed, the average weekly trading volume for both Miller Energy

  Preferred Securities exceeded the threshold level of average weekly trading volume necessary for

  an efficient market as cited by the Cammer Court. To reiterate, and as shown by Exhibit 3-C and

  Exhibit 3-D of my Report, the average weekly turnover as a percentage of shares outstanding

  was 5.16% for Series C Preferred Stock and 7.93% for Series D Preferred Stock. These levels of



  59
       Attari Report ¶166.
  60
       “In a market with no auto correlation [sic], I would expect the sign to change.” Attari Deposition 93:8-10.
  61
       Attari Deposition 91:15-92:2.
  62
       Attari Report ¶69, ¶96.



                                                          22

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  average weekly trading volume easily surpass the one and two percent thresholds cited in

  Cammer and, thus, are indicative of efficient markets.63

             29.    Dr. Attari does not dispute that (1) analyst coverage cited in my report is relevant to

  the analysis of preferred stock64 or (2) analysts were following the financial reports of the

  company.65 Dr. Attari, however, overlooks that analyst recommendations and price targets for

  the Common Stock would be critical inputs into the valuation of Miller Energy Preferred

  Securities. More specifically, the price targets themselves suggest how large analysts believe the

  common equity cushion will be, their financial projections would be relevant to evaluating the

  ability to pay preferred dividends, and analysts specifically discussed Miller Energy Preferred

  Securities and commented upon the likelihood that the Company would continue to pay the

  preferred dividends, the Company’s debt, and the solvency of the Company, all of which had a

  direct bearing on investors in Miller Energy Preferred Securities.66 Dr. Attari’s suggestion that

  this Cammer factor is not met because the analysts did not issue a specific price target or

  recommendation for Miller Energy Preferred Securities has no justifiable economic basis.

  Indeed, Dr. Attari admits that he has “no academic research supporting [his] position that in

  order for an analyst report to be relevant to Cammer Factor 2, it must have a price target and a




  63
       Cammer, 711 F. Supp. at 1293 (citing Bromberg & Lowenfels).
  64
    Dr. Attari admits that most factors in analyst reports are relevant to holders of Series C and Series D preferred
  stock. (“Q: So you agree that the analyst reports, revenue projections, earnings projections, profitability and share
  price targets were relevant to preferred security holders? A. The share price targets have to do with the common. So
  they would not be relevant to the preferred stockholders directly. The rest of it would have some relevance, yes.”)
  Attari Deposition 31:21-32:5. See also Attari Deposition 141:24-142:1.
  65
       Attari Deposition 27:16-20.
  66
    “TURNING THE CORNER: Kitchen Sink of a Quarter Could Mark a Bottom, New Strategy in Place," MLV &
  Co. LLC, December 10, 2014., “LOWERING TARGET: Notices Raise Concerns, But Liquidity Appears Stable,
  Maintain Buy Rating,” MLV & Co. LLC, May 1, 2015., and “MILL releases unaudited fourth quarter and fiscal
  2015 results,” Noble Financial Capital Markets, July 30, 2015. See also Attari Deposition 31:21-32:24.



                                                       23

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  buy, hold or sell recommendation on it.”67 While the analyst reports may not have explicitly

  addressed every aspect of what preferred stockholders might care about, that does not mean their

  presence is irrelevant to market efficiency for Miller Energy Preferred Securities.

             30.    Dr. Attari’s suggestion that the market maker factor is not supported for Miller

  Energy Preferred Securities is simply incorrect. As described in my Report, the language from

  Cammer is:

                     For over the counter markets without volume reporting, the number of
                     market makers is probably the best single criterion. Ten market makers
                     for a security would justify a substantial presumption that the market for the
                     security is an efficient one; five market makers would justify a more modest
                     presumption.68

             31.    As stated in my Report, Miller Energy Preferred Securities traded on the NYSE and

  therefore did not trade in an “over the counter market without volume reporting.” In that

  circumstance, counting market makers is not even relevant. Notably, Dr. Attari admits that the

  NYSE operates differently than the over the counter market, and that it does not require market

  makers to create liquidity.69 He additionally acknowledges precedent that a security’s listing on

  the NYSE makes it likely to trade efficiently.70

             32.    Dr. Attari acknowledges Miller Energy was S-3 eligible from the initial offerings of

  both Miller Energy Preferred Securities until December 1, 2014.71 The fact that Miller Energy



  67
    Attari Deposition 175:6-12. (“Q. But you have no academic research supporting your position that in order for an
  analyst report to be relevant to Cammer Factor 2, it must have a price target and a buy, hold or sell recommendation
  on it; correct? A. Yes, correct.”)
  68
       Cammer, 711 F. Supp. at 1293 (citing Bromberg & Lowenfels).
  69
       Attari Deposition 61:13-22, 62:11-15.
  70
    Attari Deposition 115:22 – 116:3 (“Q: In the EGC case we were discussing earlier, you claimed that the courts
  recognize that securities that trade or listed on the New York Stock Exchange are likely to be efficient, didn’t you?
  A. Likely to be, yes.”)
  71
       Attari Report ¶192; Attari Deposition 118:23-119:12.



                                                        24

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  became ineligible to file a Form S-3 after it failed to timely file one of its Forms 10-K toward the

  end of the Analysis Period is not evidence of inefficiency of the market generally, and there is no

  reason to believe that moving from eligibility to ineligibility because of a late filing suddenly

  introduces market inefficiency when other factors point to continued efficiency during that

  period (like the volume and cause and effect among others).72

             33.    The purpose of analyzing a company’s market capitalization is not to see whether a

  particular security of a company is well capitalized, but to see whether the company as a whole is

  well-capitalized. Dr. Attari agrees that if the Krogman factor concerns the capitalization of the

  company (which the language of the Krogman court makes clear it does), analyzing the

  capitalization of Miller Energy Preferred Securities in isolation is incorrect.73 Nonetheless, Dr.

  Attari claims that the individual low market capitalization of Miller Energy Preferred Securities

  at the end of the Analysis Period is an indicator of inefficient markets.74 However, the low

  market capitalization witnessed late in the Analysis Period was driven by declines in prices, not

  the lack of capitalization generally. As such, Dr. Attari provides insufficient evidence that this

  factor is indicative of market inefficiency.

             34.    Dr. Attari does not dispute that the bid-ask spreads on the Series C and Series D

  Preferred Stock were low until the last eight months of the Analysis Period.75 However, he

  asserts that the high bid-ask spreads on the Series C and Series D Preferred Stock over the final




  72
     Dr. Attari is unaware of “any empirical support that a market becomes less efficient when it moves from S-3
  eligible to S-3 ineligible.” Attari Deposition 73:16-20.
  73
       Attari Deposition 77:6-13.
  74
       Attari Report ¶182.
  75
       Coffman Report §VII.H, Attari Report §VII.E.7, and Attari Deposition 78:21-79:5.



                                                       25

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  eight months of the Analysis Period are indicative of inefficient markets. 76 The increase in the

  bid-ask spreads of Miller Energy Preferred Securities were driven by declines in price, not

  because the markets generally became less efficient. As the prices of the Preferred Securities fell

  to low-levels, the bid-ask spreads as a percentage of the shares’ prices increased because price

  level is an important determinant of bid-ask spread.77 For example a bid-ask spread of $0.05 on a

  stock trading at $10 a share is a substantially smaller percentage spread than a $0.05 spread on a

  share trading at $1 a share.78

             35.    As I stated in my Report, “for all quarterly lists starting in the third calendar quarter

  of 2012 (when Series C Preferred Stock began trading) and ending at the end of the Analysis

  Period, the Preferred Securities were not labelled as Section 13F Securities, meaning institutions

  were not required to report their holdings of the Miller Energy Preferred Securities.”79,80 Data on

  the institutional ownership of Miller Energy Preferred Securities, therefore, is limited to only

  those institutions voluntarily electing to report their holdings of these shares. Reporting

  institutions that held Miller Energy Series C Preferred Stock included Brick Asset Management

  Inc, Crow Point Partners, LLC, Quadrant Capital Group, Spirit of America Management Corp,

  Scholtz & Co LLC, Swiss-Asia Financial Services Pte Ltd and Theme/Value Investments.81

  Reporting institutions that held Miller Energy Series D Preferred Stock included Wells Fargo


  76
       Attari Report ¶194.
  77
    Harris, Lawrence E., “Minimum Price Variations, Discrete Bid-Ask Spreads and Quotation Sizes,” The Review of
  Financial Studies, v.7 (1), Spring 1994, pp. 149-178.
  78
    “I’m aware of the academic literature that says that lower-priced securities have wider bid ask spreads
  proportionately.” Attari Deposition 79:13-20.
  79
       Coffman Report, footnote 34.
  80
    Dr. Attari also determined that institutional data was unavailable for the preferred securities. (Attari Deposition
  83:9-14.)
  81
       Data on institutional holdings obtained from Bloomberg using the HDS function.



                                                        26

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  and Co, Spirit of America Management Corp, Sun Life Financial Inc, and Teachers Insurance &

  Annuity of America. Dr. Attari concedes that “Institutional ownership is not an explicitly

  recognized factor like the Cammer Factors or the Krogman Factors.”82 Therefore, the limited

  data available on institutional holdings of Miller Energy Preferred Securities does not suggest

  market inefficiency. At worst, the limited amount of data on the institutional holdings of the

  Miller Energy Preferred Securities renders this factor agnostic regarding this efficiency factor.

             G. MY METHODOLOGY FOR EVALUATING MARKET EFFICIENCY FOR
                THE PREFERRED SECURITIES IS RELIABLE AND MY OPINIONS ARE
                UNIMPACTED BY ANY OF DR. ATTARI’S CRITICISMS


             36.    Dr. Attari identified three purported “errors” in my calculation of returns of the

  Preferred Securities that are part of my event study analysis. None of these purported “errors” are

  related to the general methodology I employed for analyzing market efficiency and none of them

  impact the ultimate conclusions or opinions that flow from that methodology (nor does Dr. Attari

  claim they do).


                             i.   THE USE OF DIVIDEND ADJUSTED RETURNS FOR THE
                                  PREFERRED SECURITIES


             37.    Dr. Attari claims that I should have computed returns for the Series C and Series D

  Preferred Securities in a manner that adjusts for the payment of dividends. As Dr. Attari notes,

  the label of the return series in my backup material (ret_MILL_PRC_div_adj and

  ret_MILL_PRD_div_adj) is consistent with my intent to compute dividend adjusted returns, not

  that I was unaware that such an adjustment was necessary. Adjusting for dividend payments is



  82
       Attari Report ¶183.



                                                   27

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  appropriate and was my intention.83 As noted by Dr. Attari, this error affects a small minority of

  returns (10 out of 706 for Series C and 6 out of 460 for Series D).

           38.    The incorporation of dividend adjusted returns for Preferred Series C and Preferred

  Series D does not impact the results or conclusions in any meaningful way (nor does Dr. Attari

  suggest it does). For the Series C Preferred Stock, as shown by Rebuttal Exhibit 4, the

  incorporation of dividend adjusted returns does not change the proportion of news days with

  significant returns, changes the average absolute abnormal return for those days by a negligible

  0.02% and does not affect the volume at all. Meanwhile, as Rebuttal Exhibit 5 illustrates, for

  the Series D Preferred Stock, there is no change whatsoever to the proportion of news days with

  significant returns, or the volume, and the average absolute abnormal return changes by 0.02%.

  The statistical tests of whether the news dates have a greater proportion of statistically significant

  returns and whether the average absolute returns are higher on news days relative to “no news”

  days remains statistically significant at far greater than the 99% confidence level, affirming my

  conclusion that the markets for Miller Energy Preferred Securities were efficient.

           39.    This criticism, thus, has no substantive influence either on my specific conclusion

  that there is evidence of a cause and effect relationship or my ultimate conclusion that Miller

  Energy Preferred Securities traded in efficient markets. It further does not suggest in any way

  that my analysis is unreliable.




  83
     In the process of handling the data, a member of my staff manually replaced the dividend-adjusted returns within
  a spreadsheet and failed to realize the manual calculations erroneously and inadvertently eliminated the dividend
  adjustment. I take responsibility for not catching this inadvertent, and ultimately inconsequential, calculation error.

                                                        28

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                                    11596
                             ii.    THE USE OF THE INTERCONTINENTAL EXCHANGE WTI
                                    LIGHT SWEET CRUDE OIL FUTURES INDEX


             40.    Dr. Attari claims that the index I used to control for changes in the price of oil was

  not the “NYMEX WTI Light Sweet Crude Oil Futures Index” but instead the “ICE WTI Light

  Sweet Crude Oil Futures Index.”84 As indicated by Dr. Attari, there is no substantive difference

  in the economic meaning or value of these indices.85 Both are meant to track the market price of

  the same underlying commodity – “West Texas Intermediate oil.”86 The indices are both

  constructed by referencing prices for short term futures contracts covering the same

  commodity.87 The NYMEX Oil Futures Index tracks futures prices from the New York

  Mercantile Exchange, while the ICE Oil Futures Index tracks futures contracts from the

  Intercontinental Exchange.88 As one would expect, since both of these indices are meant to

  generally track the same underlying commodity, the prices are highly consistent, as shown in the

  chart below. The correlation coefficient between the indices is over 97%.




  84
       Attari Report ¶34.
  85
       Attari Report ¶38.
  86
       Dr. Attari agrees on this point. (Attari Deposition 156:17-22.)
  87
       Attari Report ¶¶42-44.
  88
    https://www.cmegroup.com/trading/why-futures/welcome-to-nymex-wti-light-sweet-crude-oil-futures.html
  (accessed May 30, 2019) and https://www.theice.com/products/213/WTI-Crude-Futures (accessed May 30, 2019).

                                                          29

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                                    11597
          41.    Given that, it should come as no surprise that using the NYMEX index89 has no

  impact on my conclusions. More specifically, for the news days I analyze, the use of the

  NYMEX Oil Futures Index does not change the proportion of days that are significant, changes

  the average absolute return by 0.05% and 0.11% for the Series C Preferred Stock and Series D

  Preferred Stock respectively, and does not impact the average volume of shares traded. All of the

  comparisons against the “no news” days remain statistically significant at or above the 95%

  significance level. See Rebuttal Exhibit 6, and Rebuttal Exhibit 7, which show the differences

  for each of the Miller Energy Preferred Securities from the originally filed exhibits.90




  89
    I instructed my staff to download the NYMEX WTI Light Sweet Crude Oil Futures Index. A staff member
  incorrectly downloaded the data for the “ICL” ticker instead of the “CL” ticker, confusing one for the other.
  90
    The use of the NYMEX for Miller Energy Common Stock also has no impact on my conclusions. For the news
  days I analyze, the use of the NYMEX Oil Futures Index does not change the proportion of days that are significant,
  changes the average absolute return by 0.03%, and does not impact the average volume of shares traded. See
  Rebuttal Exhibit 1 for the differences for Miller Energy Common Stock from the originally filed exhibits.



                                                      30

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                                    11598
             42.    Moreover, setting aside the inconsequential difference in these indices, I

  demonstrated in my Report that my result was robust to another alternative index of oil

  companies, specifically, the Dow Jones US Exploration and Production Index.91 In other words,

  I never suggested that the NYMEX Index was the one and only possible choice of indices in the

  first place. Certainly, the ICE Index I used is also a valid control for oil prices, which was the

  overall intent of the analysis.

             43.    This criticism, thus, has no substantive influence either on my results or on my

  ultimate conclusion that Miller Energy Preferred Securities traded in efficient markets. It further

  does not suggest in any way that my analysis is unreliable.


                            iii.   THE COMPUTATION OF THE “OIL PRICE INDEX” RETURN


             44.    Dr. Attari argues that it was improper to rely on a third-party constructed price

  index to control for the price of oil because of the method by which the index was constructed.92

  He is wrong. Financial economists regularly use third-party price indices to control for market or

  industry factors without dissecting all of the construction techniques and evaluating if there are

  better ways to construct the series.93 The index I relied upon is a price index constructed by a



  91
       Initial Coffman Report, footnote 52 and Coffman Report, footnote 63.
  92
       Atttari Report ¶¶40-45.
  93
    As a case in point, Dr. Attari himself used a third-party produced control index in a prior report that did not
  incorporate dividend adjustments (See, Expert Report of Dr. Mukarram Attari, in Dalton Petrie, et al, v Electronic
  Game Card, Inc., et al, and Penny Pace, et al, v. Timothy Quintanilla, et al, No. 10‐0252 and 14‐2067, filed June 1,
  2015 (C.D. California).
  In that particular case, he controls for market factors by using the NASDAQ Composite Index, which is not a total
  return index that adjusts for dividends (See, Nasdaq Composite Index Methodology at
  https://indexes.nasdaqomx.com/docs/methodology_COMP.pdf (“The price return index in USD (Nasdaq: COMP) is
  ordinarily calculated without regard to cash dividends on Index Securities.”).
  In other words, he relied on a third-party index that commits the same purported error that he accuses me of
  committing. He did not scrutinize the construction of that index to evaluate if there were hypothetically better ways
  to construct it.

                                                        31

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                                    11599
  reputable third party that is intended to track the market price of WTI Oil. I used the price index

  as provided to control for the price of oil. Dr. Attari’s criticism of my approach is, at best, a

  matter of statistical judgment and does not reflect an error in my methodology.

           45.   Nevertheless, I demonstrate that even if I had undertaken the procedure suggested

  by Dr. Attari, my conclusion of a cause and effect relationship between new news and changes in

  the market price of Miller Energy Preferred Securities is not impacted. (see Rebuttal Exhibit 9

  and Rebuttal Exhibit 10). More specifically, for the news days I analyze, the use of the

  procedure suggested by Dr. Attari does not change the proportion of days that are significant and

  does not impact the average volume of shares traded.94 I analyzed both the raw returns I

  originally used and the dividend adjusted returns using Dr. Attari’s proposed methodology for

  both the Series C and Series D Preferred Stock. Rebuttal Exhibit 9 and Rebuttal Exhibit 10

  show that the use of Dr. Attari’s proposed method changes the average absolute return by an

  inconsequential 0.01% and 0.10%, respectively, when analyzing the dividend adjusted returns

  for Miller Energy Series C and Series D Preferred Stock.95 All of the comparisons against the

  “no news” days remain statistically significant at or above the 95% significance level for the

  Miller Energy Preferred Securities. My conclusion that there is scientific evidence of a cause and

  effect relationship is not sensitive to my use of the WTI Oil index with or without the alterations

  to the index suggested by Dr. Attari.

           46.   In summary, the methodology I employed in my Report is reliable, and is consistent

  with the same methodology I have employed in dozens of other reports in which a class has been


  94
    As illustrated by Rebuttal Exhibit 8, the use of Dr. Attari’s procedure changes the average absolute return by an
  inconsequential 0.02% on the earnings days that I analyzed for Miller Energy Common Stock. This does not change
  my conclusions about the market efficiency of Miller Energy Common Stock.
  95
    Additionally, Rebuttal Exhibits 9 and 10 illustrate that even when analyzing the raw returns for the Miller Energy
  Securities, the average absolute abnormal return changes by 0.02% for Miller Energy Series C Preferred Stock and
  by 0.10% for Miller Energy Series D Preferred Stock.

                                                      32

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                                    11600
  certified. I have further demonstrated that correcting the purported data errors identified by Dr.

  Attari does not influence the outcome of any of my analyses. In fact, I have demonstrated that

  my conclusions are robust to those changes and Dr. Attari’s additional criticisms (with which I

  disagree).

   IV.      DR. ATTARI INCORRECTLY ASSERTS THAT NEITHER SECTION 10(b)
            NOR SECTION 11 DAMAGES CAN BE CALCULATED ON A CLASS-WIDE
            BASIS

           A. DR. ATTARI’S CLAIM THAT SECTION 10(b) DAMAGES CANNOT BE
              CALCULATED ON A CLASS-WIDE BASIS RELIES ENTIRELY ON A
              MISREPRESENTATION OF PLAINTIFFS’ PROPOSED DAMAGES MODEL


           47.    Plaintiffs are pursuing the standard “out of pocket” measure of damages in this

  case. Under this methodology, damages are formulaically calculated as the artificial inflation per

  share at the time of purchase less the artificial inflation at the time of sale (or, if the share is not

  sold before full revelation of the fraud, the artificial inflation at the time of purchase, subject to

  the Private Securities Litigation Reform Act of 1995’s “90-day lookback” provision, a formulaic

  limit on damages that also can be applied class-wide).96 This methodology is regularly accepted

  by courts in securities fraud class actions similar to this one. Dr. Attari does not suggest that this

  methodology is inappropriate. Under this methodology, there is no need to separate investors

  between the “low risk” and “high risk” investors he identifies.97 As is standard, the out of pocket



  96
    Specifically, the Private Securities Litigation Reform Act of 1995 states: “…in any private action arising under
  this title in which the plaintiff seeks to establish damages by reference to the market price of a security, the award of
  damages to the plaintiff shall not exceed the difference between the purchase or sale price paid or received, as
  appropriate, by the plaintiff for the subject security and the mean trading price of that security during the 90-day
  period beginning on the date on which the information correcting the misstatement or omission that is the basis for
  the action is disseminated to the market.” See, Private Securities Litigation Reform Act of 1995, dated December 22,
  1995, 737, 748-49.
  97
     Dr. Attari admits that this understanding comes “from discussions with counsel and from a review of an opinion
  in, I think, the BP case.” Dr. Attari admits that if this understanding is incorrect (which it is), then “all investors are
  treated the same” and his opinions would no longer apply. Attari Deposition 99:5 – 100:16.

                                                          33

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                                    11601
  methodology assumes investors would have still purchased the relevant security at the time they

  did. But it assumes the transaction would have occurred at a different price had the full truth

  been disclosed.

             48.    While Dr. Attari claims it is inappropriate to take the full decline on all of the

  corrective disclosures and assume that investors can recover that full amount regardless of when

  they purchased and what the facts would establish about how much of the artificial inflation was

  present at the time of purchase,98 I never suggested in my Report or deposition that artificial

  inflation would be quantified in that manner. Instead, Dr. Attari ignores what is stated in my

  Report and deposition and draws what appears to be a legal inference from the use of a particular

  phrase in the Complaint that Plaintiffs are seeking something other than the standard out of

  pocket damages.

             49.    Defendant suggests that use of the phrase “materialization of the risk” in the

  Complaint implies that I am supporting a method (or Plaintiffs are requesting a method) that

  deviates from the “out of pocket” methodology identified in my Report. Defendants cite to my

  testimony in Ludlow v BP, L.P.C., as purported evidence that my methodology for calculating

  Section 10(b) damages is unreliable.99 However, the nature of the claims in the “pre-spill class”

  in the Ludlow matter were fundamentally different as a matter of economics than the claims at

  issue in this case.100 Further, in the Ludlow case, I explicitly acknowledged I was deviating from




  98
       Attari Report ¶207.
   KPMG LLP’S Memorandum of Law in Support of its Motion to Exclude the Reports and Testimony of Chad
  99

  Coffman, filed May 21, 2019 No. 3:16-cv-00121-TAV-DCP (E.D. Tennessee) §1. B.
  100
      The pre-spill subclass sought to recover consequential damages related to the post-spill stock price decline. In so
  doing, the pre-spill subclass “expressly eschew[ed]” the traditional out-of-pocket damages calculation method
  advanced by Plaintiffs in typical securities litigation. See Memorandum and Order filed May 20, 2014, in re: BP
  p.l.c Securities Litigation, MDL No: 10-md-2185, Civil Action No. 4:10-md-2185 (S.D. Texas).



                                                        34

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                                    11602
  the standard methods for quantifying artificial inflation based on the legal theory being put

  forward by plaintiffs’ counsel there. That case also had a “post-spill class” for which the

  standard out of pocket method was employed. That subclass was certified.101

             50.    My articulation of the standard out of pocket damages formula is ubiquitous in class

  action securities litigation and has been deemed proper and sufficient by numerous courts

  considering class certification in this context.102

             B. PROVING TRACEABILITY IS NOT REQUIRED TO DEMONSTRATE
                DAMAGES FOR THE SECTION 11 CLASS


             51.    Dr. Attari conflates the issue of whether any particular investor can establish

  traceability based upon submitting a claim in this matter versus whether damages can be

  calculated subject to a common methodology. Further, Dr. Attari does not dispute the statutory

  damages formula articulated in my Report (and reiterated it in his own report) for those that can

  establish traceability. Indeed, Dr. Attari readily computed statutory damages for Mr. Ziesman

  assuming he could prove traceability to either of the relevant offerings.103 Moreover, his

  conclusion is predicated on “without knowing which issuance the shares that they purchased

  came from.”104 Thus, there is no relevant dispute about whether damages can be computed

  conditional upon an investor demonstrating traceability.

             52.    I understand traceability is established through the submission of claims. Those

  investors that can prove they purchased shares directly in the offering can establish traceability.


  101
     See Memorandum and Order filed May 20, 2014, in re: BP p.l.c Securities Litigation, MDL No: 10-md-2185,
  Civil Action No. 4:10-md-2185 (S.D. Texas).
  102
     Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D. Tennessee); Hatamian v. Advanced
  Micro Devices, Inc., No. 4:14-cv-00226 (N.D. Cal.); Laborers Pension Trust Fund – Detroit, vs. Conn’s, Inc., 4:14-
  cv-00548 (S.D. Tex.); and Leon D. Milbeck v. TrueCar Inc, No. 2:18-cv-02612 (C.D. Cal.), to name but a few.
  103
        Attari Report ¶85.
  104
        Attari Report ¶¶86 and 111.

                                                      35

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                                    11603
  This could be shown through underwriter records or investor records that are consistent with

  direct purchases from an underwriter at the offering prices. Whether any after-market purchasers

  can establish traceability is unknown. To simply conclude they cannot is unnecessarily

  speculating about what evidence class members might be able to present regarding traceability.

  As acknowledged by Dr. Attari, his statement that after-market purchasers “cannot” trace their

  shares to an offering is speculative.105 It is not at all clear what evidence might exist that could

  establish traceability, but it is presumptuous to claim it cannot exist. Dr. Attari himself provides

  one possibility106, and I see no economic reason (and Dr. Attari certainly does not provide one)

  to pro-actively exclude all after-market purchasers from the putative class when there are

  circumstances where such individuals could be class-members.107

             53.    Additionally, Dr. Attari incorrectly claims that it is impossible to establish

  traceability for Series C and Series D Preferred Stock because the issued and outstanding shares

  of these securities were held in book-entry form at the Depository Trust Company.108 Dr. Attari

  correctly notes that the Depository Trust Company was established in 1973 and makes “book-

  entry” changes to ownership of the securities.109 Dr. Attari acknowledges that the “overwhelming

  majority of investors in U.S.-based market do not have shares certificates, but instead hold their

  shares in book entry form in the DTC.”110 In spite of this, Dr. Attari maintains his claim that no




  105
        Attari Report ¶¶80-81, 107.
  106
        Attari Report ¶80.
  107
        Attari Report ¶79.
  108
        Attari Report ¶¶64-67, 95.
  109
      DTCC, “The Depository Trust Company (DTC), “http://www.dtcc.com/about/businesses-and-subsidiaries/dtc”
  (accessed on June 7, 2019).
  110
      Attari Deposition 111:4-9.



                                                    36

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                                    11604
  after-market purchasers can trace their shares to an offering in virtually all Section 11 cases. 111

  However, Dr. Attari fails to mention that Section 11 cases including aftermarket purchasers have

  been filed and routinely certified subsequent to the founding of the Depository Trust Company. I

  do not see a way to reconcile Dr. Attari’s position with the presence of these certified cases.

           54.   Further, assessing damages is separate from assessing traceability. The definition of

  the Section 11 Class clearly separates traceability from damages.112 My report predicates the

  calculation of damages upon the establishment of traceability.113 114 Whether or not a putative

  class member that can prove traceability is damaged under the statute is ascertainable with

  trading records. This is no different than for any investor in a garden variety securities case

  where putative class members must establish they are in the class and damaged through the

  claims process.

           55.   In the typical expert report at the merits phase of litigation, plaintiffs ask the finder

  of fact to establish the inflation per share in the security. Then, post-verdict, trading records are

  submitted to establish whether the investor is in the class and the damages are calculated

  formulaically based upon the out of pocket method using the quantification of the inflation per




  111
     “Q. You state [in the Attari Report], ‘after-market purchasers, those who purchase their shares in open-market
  trading, not directly in one of the public offerings, cannot trace their shares to these offerings’…that is true for
  virtually any after-market purchaser bringing a Section 11 claim, not just investors in Miller Energy’s Series C and
  Series D; correct? A. That is true for any investor trading in the secondary market.” Attari Deposition 112:11 –
  113:7.
  112
      Complaint ¶33. Plaintiffs define the Class as “All those who purchased Miller Energy preferred shares pursuant
  to or traceable to the Offering Documents (the ‘Section 11 Class’).”

  113
      Coffman Report ¶101. “Section 11 damages can be calculated for the members of the Section 11 Class, all those
  who purchased Miller Energy Series C Preferred Stock and Miller Energy Series D Preferred Stock ‘pursuant to or
  traceable to the Offering Documents’ issued during the Class Period.”
  114
      Dr. Attari himself acknowledges that damages could be computed given basic trade details. “If you had their
  purchase and sale information, you could compute the damages to that investor for people who purchase in the
  offering.” Attari Deposition 110:1-4.



                                                       37

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                                    11605
  share during the Class Period. The same is true for the Section 11 Class, with the only difference

  being that membership in the class also depends on traceability. For those that can establish

  traceability through the claims process, damages are calculable formulaically under the statute

  (as indicated by Dr. Attari and consistent with a prior Order in the Gaynor matter).115

   V.          I PROVIDED STRONG SCIENTIFIC STATISTICAL EVIDENCE THAT THE
               ALLEGED MISSTATEMENTS IMPACTED THE PRICE OF MILLER
               ENERGY SECURITIES

             56.    I understand the Defendant has the burden to establish lack of price impact. To

  establish lack of price impact, Dr. Attari must show a lack of price impact on both the front end

  and back end. He does not even try to establish lack of price impact upon corrective disclosures,

  whereas I show below that there are significant declines on at least some of alleged corrective

  disclosures. Dr. Attari provides no opinion regarding negative causation116 and did not analyze

  all of the alleged corrective disclosures.117 Additionally, he acknowledges there was price

  increase with KPMG’s first alleged false statements, but offers no opinion regarding whether

  those statements contributed to the price increase.

             57.    Dr. Attari’s only opinion is that I do not provide sufficient evidence to prove there

  was a positive price impact at the time of KPMG’s alleged first false statement.118 However, Dr.

  Attari’s opinion is based upon a fundamentally flawed analysis of the events leading up to the

  August 29, 2011, release of Miller Energy’s final audited version of the Form 10-K/A with

  KPMG’s first audit opinion. Indeed, there is strong economic evidence of price impact for this

  event.


  115
        Attari Report ¶83. See Gaynor v. Miller, No. 15-cv-545, 2018 WL 3751606 (E.D. Tenn. Aug. 6, 2018).
  116
        Attari Deposition 114:7-10.
  117
        Attari Deposition 170:3-16.
  118
        Attari Report § IX.

                                                       38

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                                    11606
             58.    Dr. Attari and I both find that there is a statistically significant price reaction to the

  release of Miller Energy’s final audited version of the Form 10-K/A with KPMG’s audit opinion

  on August 29, 2011, and he does not and cannot definitively rule out that it reflected the impact

  of the alleged fraud.119 Dr. Attari has suggested that the loan agreement with Guggenheim

  Corporate Funding may have caused some of the stock price increase on August 29, 2011.120

  However, an analyst cut his price target for Miller Energy Common Stock as a result of the

  amended loan agreement, indicating that this news was interpreted negatively by investors. 121 Dr.

  Attari confirmed this negative interpretation at his deposition and offers no rationale for how or

  why this information would lead to an increase in price.122

             59.    Furthermore, Dr. Attari’s reference to the results of the internal investigation as a

  reason for the price increase are (1) directly related to the allegedly false audit report and (2) not

  even mentioned by analysts as relevant new information. As a result, this information is either

  irrelevant to price impact or inseparable from the underlying accounting conduct. The release of

  the KPMG audit report resolved the questions surrounding whether Miller Energy would be able

  to publish a Form 10-K consistent with its prior accounting with the blessing of an auditor.

             60.    The market viewed the filing of KPMG’s audit report as a critical, positive

  development.123 The market price of Miller Energy climbed by over 50% on a single day.




  119
      Attari Report ¶ 217 (“The events leading up to the August 29, 2011 10-K filing make it difficult, if not
  impossible, to conclude that KPMG’s alleged false audit opinion caused inflation in the common
  stock on that date.”)
  120
        Attari Report ¶217. d.
    “Miller Energy Resources: Slightly Lower On Higher Payments, Timing of Production Key,” SunTrust Robinson
  121

  Humphrey, August 30, 2011.
  122
        Attari Deposition 160:19-161:17, 163:4-164:4.
  123
        Coffman Report ¶¶vi -xiii.



                                                        39

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                                    11607
  Indeed, my event study indicates that the market price of Miller Energy Common Stock

  increased by 57.85%, after controlling for market and industry effects and that this abnormal

  price increase is statistically significant at the 99% confidence level with a t-statistic of 13.96.124

  Dr. Attari notes that the market price of Miller Common Stock increased (before controlling for

  market factors) by 60.8% on August 29, 2011.125 It is highly unlikely that this marked price

  increase would have been possible had Miller Energy been unable to publish a Form 10-K

  without KPMG’s imprimatur.

             61.    With respect to additional audit opinions issued later in the Class Period, as a matter

  of economic theory, it is unsurprising that there is no observable stock price increase. Going

  forward, it would be reasonable for the market to expect KPMG to continue to sign off on Miller

  Energy’s valuation of the Alaska Assets as compliant with GAAP since it had already done so.

  Therefore, such statements would maintain, rather than increase, any artificial inflation because

  KPMG’s further audit opinions would not have been unexpected.

             62.    Additionally, Dr. Attari fails to acknowledge that there were statistically significant

  stock price declines on alleged corrective disclosures. For example, the alleged corrective

  disclosure on December 24, 2013 saw statistically significant negative abnormal returns for both

  Miller Energy Preferred Securities. On this day, a report entitled ‘Miller Energy: Digging Itself

  Into Another Deep Hole?’ was published by TheStreetSweeper and described that Miller Energy

  was facing serious debt and financing issues.126

             63.    Following the filing of the Form 8-K with the Securities and Exchange Commission

  and subsequent press release on July 14, 2014, an investor call held after trading hours on July


  124
        Coffman Report ¶xii.
  125
        Attari Report ¶217. d.
  126
        Complaint ¶200.

                                                    40

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                                    11608
  15, 2014, likely also contributed to the decline in Miller Energy Common Stock. During that

  call, CFO John Brawley acknowledged that costs and expenses were high, including DD&A

  expenses, and acknowledged that poor net income and earnings per share numbers were items

  that “a number of our shareholders focus on.” Brawley also acknowledged that Miller Energy’s

  internal controls were still deficient but touted the hiring of “a junior accountant with big four

  accounting experience” as a reason for investors to be optimistic.127

             64.    Further, on October 13, 2014, after trading hours, Reuters reported that Brean

  Capital, a firm whose analyst had been following Miller Energy closely, cut its price target of

  Miller Energy from $9 to $7.128 This led to a statistically significant decline in the price of Miller

  Energy Securities. On both of these days, information was publicly released that cast doubt on

  KPMG’s valuation and audit of Miller Energy assets.

             65.    Miller Energy Common Stock experienced a statistically significant negative

  abnormal return on the December 1, 2014 alleged corrective disclosure, and Miller Energy

  Preferred Series C Stock experienced a negative statistically significant abnormal return on the

  December 5, 2014 alleged corrective disclosure.129 Both of these alleged corrective disclosures

  stemmed from analysts reducing their price targets for Miller Energy Common Stock.

             66.    On April 29, 2015, after market hours, Miller Energy filed a Form 8-K, attaching a

  press release in which it announced that it had received a “Wells Notice” from the SEC

  indicating that the agency staff had made a preliminary determination to recommend civil action

  against the Company related to its accounting for its Alaska Assets, in addition to a continued



  127
        “Glacier Oil & Gas Corp. FQ4 2014 Earnings Call Transcripts” S&P Capital IQ. 15 July 2014.
  128
        Complaint ¶214.
  129
        Complaint ¶¶216-217.



                                                       41

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                                    11609
  listing notice from the NYSE.130 All three Miller Energy Securities experienced statistically

  significant price declines on this day.

             67.   On May 6, 2015, Miller Energy announced it was deferring dividend payments on

  its Series C and D Preferred Stock.131 On this day the Miller Energy Preferred Securities

  experienced statistically significant price declines.

             68.   Miller Energy released a Going Concern Warning on July 14, 2015 and

  subsequently had its securities delisted on July 31, 2015.132 Both of these events precipitated

  statistically significant declines in the Miller Energy Securities.

             69.   While I understand that any impact from these corrective disclosures could be

  confounded by other information released on those days, Dr. Attari has not scientifically

  established that the alleged corrective information did not have any impact on the price of the

  Miller Energy Securities on these alleged corrective disclosures. Dr. Attari does not even

  address any of the alleged corrective disclosures or their impact on the Miller Energy Securities

  in his report.




  130
        “Press Release: Miller Energy Provides Details Concerning Recent Events Including Receipt of NYSE
  Continued Listing Notice,” Dow Jones Newswires, April 29, 2015.
    “Press Release: Miller Energy Defers Cash Dividends on Its Series C and Series D Preferred Stock,” Dow Jones
  131

  Newswires, May 6, 2015.
  132
        Complaint ¶¶ 226-227.

                                                      42

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                                    11610
         70.   I declare under penalty of perjury under the laws of the United States of America

  that the foregoing is true and correct.




         Executed on June 14, 2019




                                             43

Case 3:16-cv-00121-TAV-DCP Document 142-1 Filed 06/14/19 Page 44 of 113 PageID #:
                                    11611
                                              Rebuttal Exhibit 1
 Dr. Attari's Criticism That I Used the ICE WTI Oil Futures Index Rather Than The NYMEX WTI Oil Futures
          Index Does Not Impact My Finding of Market Efficiency for Miller Energy Common Stock

                                                                                                                              Analysis Addressing Dr. Attari's
                            Analysis Performed in Coffman Report
                                                                                                                                        Criticism

                                                                                                                                                      Days with No News,
                                                 Earnings                        Days with No News,                            Earnings               Analyst Reports, or
               Statistic                      Announcements                  Analyst Reports, or SEC Filings                Announcements                SEC Filings

                  N                                    17                                    316 (1)                                 17                         316 (2)


     Significant Days at 95%
                                                        3                                      14                                     3                           12
        Confidence Level

    % Significant Days at 95%
                                                   17.65% (3)                                4.43%                              17.65%        (4)
                                                                                                                                                                3.80%
        Confidence Level

         Average Absolute
                                                    4.16% (5)                                2.52%                               4.19% (6)                      2.52%
         Abnormal Return


   Average Volume (Millions)                         0.71 (7)                                  0.3                                 0.71 (8)                      0.3

Notes:
(1) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 316 days with no news. Days with no news were
days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded
in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 316 days with no news. Days with no news were
days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded
in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 17.65% rate of statistical significance is statistically significantly different than 4.43% at the 95% confidence level.
(4) 17.65% rate of statistical significance is statistically significantly different than 3.80% at the 95% confidence level.
(5) 4.16% absolute return is statistically significantly different than 2.52% based on a t-test for difference of means at the 95% confidence level.
(6) 4.19% absolute return is statistically significantly different than 2.52% based on a t-test for difference of means at the 95% confidence level.
(7) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.
(8) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.




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                                                    11612
                                                Rebuttal Exhibit 2
  Dr. Attari's Criticism That I Compare Material Announcement Dates Against No News Dates Over a Different
                         Time Period Does Not Impact My Finding of Market Efficiency for
                                   Miller Energy Series C 10.75% Preferred Stock
                                                                                                                         Analysis Addressing Dr. Attari's
                           Analysis Performed in Coffman Report                                                                    Criticism
                   No News Dates Analyzed From October 8, 2012 to July 31, 2015                                         No News Dates Analyzed From October 15,
                                                                                                                                 2014 to July 31, 2015

                                                                                                                                                  Days with No News,
                                                Material                        Days with No News,                         Material              Analyst Reports, or SEC
              Statistic                      Announcements                 Analyst Reports, or SEC Filings              Announcements                    Filings


                  N                                    9                                   192 (1)                               9                            56(2)


     Significant Days at 95%
                                                       5                                     9                                   5                             1
        Confidence Level

    % Significant Days at 95%
                                                  55.56% (3)                               4.69%                             55.56%(4)                      1.79%
        Confidence Level

        Average Absolute
                                                  27.34%(4)                                1.28%                             27.34%(4)                      3.04%
       Abnormal Return (4)


   Average Volume (Millions)                        0.08 (7)                                0.02                              0.08 (8)                        0.02


Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC
filings were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the period of 10/15/2014 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 56 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC
filings were issued.
(3) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 1.79% at the 99% confidence level.
(5) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(6) 27.34% absolute return is statistically significantly different than 3.04% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.



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                                                 11613
                                                 Rebuttal Exhibit 3
 Dr. Attari's Criticism That I Compare Material Announcement Dates Against No News Dates Over a Different Time
                           Period Does Not Impact On My Finding of Market Efficiency for
                                    Miller Energy Series D 10.5% Preferred Stock

                                                                                                                           Analysis Addressing Dr. Attari's
                            Analysis Performed In Coffman Report                                                                     Criticism
                     No News Days Analyzed From October 1, 2013 to July 31, 2015                                       No News Days Analyzed From October 15, 2014
                                                                                                                                     to July 31, 2015
                                                                                                                                              Days with No News,
                                               Material                         Days with No News,                         Material         Analyst Reports, or SEC
              Statistic                     Announcements                  Analyst Reports, or SEC Filings              Announcements                Filings


                 N                                   9                                     118(1)                                  9                            56 (2)


    Significant Days at 95%
                                                     5                                        4                                    5                              3
       Confidence Level

   % Significant Days at 95%
                                                 55.56%(3)                                 3.39%                              55.56%(4)                        5.36%
       Confidence Level

        Average Absolute
                                                 22.92%(5)                                 2.09%                              22.92%(6)                        3.74%
        Abnormal Return


  Average Volume (Millions)                       0.13 (7)                                  0.02                                0.13   (8)
                                                                                                                                                                0.03


Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC
filings were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the period of 10/15/2014 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes
of this analysis, I selected the 56 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were
issued.
(3) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 5.36% at the 99% confidence level.
(5) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(6) 22.92% absolute return is statistically significantly different than 3.74% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.13 million and 0.03 million is statistically significant at the 99% confidence level.




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                                                  11614
                                                       Rebuttal Exhibit 4
 Dr. Attari's Criticism That I Used Raw Returns Versus Dividend Adjusted Returns Does Not Impact My Finding of Market
                                 Efficiency For Miller Energy Series C 10.75% Preferred Stock


                                                                                                                                   Analysis Addressing Dr. Attari's Criticism
                              Analysis Performed in the Coffman Report                                                             Regarding the use of Dividend Adjusted
                                                                                                                                                   Returns
                                                                                                                                                                      Days with No News,
                                                      Material                           Days with No News,                               Material                   Analyst Reports, or SEC
                 Statistic                         Announcements                     Analyst Reports, or SEC Filings                   Announcements                         Filings

                                                                                                            (1)                                                                        (2)
                    N                                        9                                       192                                        9                               192


Significant Days at 95% Confidence
                                                             5                                          9                                       5                                  9
               Level

      % Significant Days at 95%
                                                        55.56%(3)                                    4.69%                                  55.56%(4)                           4.69%
          Confidence Level

          Average Absolute
                                                        27.34% (5)                                   1.28%                                 27.36% (6)                           1.29%
          Abnormal Return


                                                                 (7)                                                                                (8)
     Average Volume (Millions)                            0.08                                         0.02                                  0.08                                0.02

Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this
analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates
with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
2) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this
analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates
with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(5) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(6) 27.36% absolute return is statistically significantly different than 1.29% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.




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                                                            11615
                                                      Rebuttal Exhibit 5
Dr. Attari's Criticism That I Used Raw Returns Versus Dividend Adjusted Returns Does Not Impact My Finding of Market
                                 Efficiency For Miller Energy Series D 10.5% Preferred Stock
                                                                                                                                      Analysis Addressing Dr. Attari's
                              Analysis Performed in the Coffman Report                                                            Criticism Regarding the use of Dividend
                                                                                                                                             Adjusted Returns
                                                                                                                                                                   Days with No News,
                                                      Material                          Days with No News,                               Material                 Analyst Reports, or SEC
                Statistic                          Announcements                    Analyst Reports, or SEC Filings                   Announcements                       Filings

                    N                                        9                                       118 (1)                                   9                              118 (2)


Significant Days at 95% Confidence
                                                             5                                          4                                      5                                 6
               Level

     % Significant Days at 95%
                                                        55.56% (3)                                   3.39%                                 55.56%(4)                          5.08%
         Confidence Level

          Average Absolute
                                                        22.92% (5)                                   2.09%                                22.94% (6)                          2.07%
          Abnormal Return


     Average Volume (Millions)                           0.13 (7)                                     0.02                                  0.13 (8)                           0.02

Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other
dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other
dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 5.08% at the 99% confidence level.
(5) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(6) 22.94% absolute return is statistically significantly different than 2.07% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.



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                                                            11616
                                            Rebuttal Exhibit 6
  Dr. Attari's Criticism That I Used the ICE WTI Oil Futures Index Rather Than The NYMEX WTI Oil
                   Futures Index Does Not Impact My Finding of Market Efficiency for
                              Miller Energy Series C 10.75% Preferred Stock
                                                                                                                               Analysis Addressing Dr. Attari's
                                                                                                                             Criticism Using Dividend Adjusted
                            Analysis Performed In Coffman Report
                                                                                                                             Returns & NYMEX CL Futures Index
                                                                                                                                           Returns
                                                                                                                                                          Days with No News,
                                                 Material                       Days with No News,                              Material                 Analyst Reports, or SEC
              Statistic                       Announcements                 Analyst Reports, or SEC Filings                  Announcements                       Filings

                 N (1)                                   9                                    192 (1)                                  9                              192 (2)


    Significant Days at 95%
                                                         5                                       9                                     5                                 9
       Confidence Level

  % Significant Days at 95%
                                                   55.56% (3)                                 4.69%                              55.56%     (4)
                                                                                                                                                                      4.69%
      Confidence Level

        Average Absolute
                                                   27.34% (5)                                 1.28%                              27.29%        (6)
                                                                                                                                                                      1.27%
        Abnormal Return

        Average Volume
                                                     0.08 (7)                                  0.02                                 0.08 (8)                           0.02
           (Millions)

Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings
were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings
were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(5) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(6) 27.29% absolute return is statistically significantly different than 1.27% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.




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                                                 11617
                                                    Rebuttal Exhibit 7
  Dr. Attari's Criticism That I Used the ICE WTI Oil Futures Index Rather Than The NYMEX CL Oil Futures Index Does
               Not Impact My Finding of Market Efficiency for Miller Energy Series D 10.5% Preferred Stock

                                                                                                                     Analysis Addressing Dr. Attari's Criticism
                          Analysis Performed In Coffman Report                                                      Using Dividend Adjusted Returns & NYMEX
                                                                                                                             CL Futures Index Returns


                                                Material                      Days with No News,                           Material                      Days with No News,
              Statistic                      Announcements                Analyst Reports, or SEC Filings               Announcements                Analyst Reports, or SEC Filings

                  N                                    9                                  118 (1)                                 9                                  118 (2)


     Significant Days at 95%
                                                       5                                     4                                    5                                     5
        Confidence Level

    % Significant Days at 95%
                                                  55.56% (3)                              3.39%                              55.56% (4)                              4.24%
        Confidence Level

         Average Absolute                                  (5)                                                                          (6)
                                                  22.92%                                  2.09%                              22.81%                                  2.11%
         Abnormal Return


                                                    0.13 (7)
                                                                                                                                      (8)
   Average Volume (Millions)                                                               0.02                                0.13                                   0.02


Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two
other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two
other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.24% at the 99% confidence level.
(5) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(6) 22.81% absolute return is statistically significantly different than 2.11% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.




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                                                          11618
                                               Rebuttal Exhibit 8
   Dr. Attari's Criticism That I Incorrectly Computed the Returns of The ICE WTI Oil Futures Index Does
                Not Impact My Finding of Market Efficiency for Miller Energy Common Stock


                                                                                                        Analysis Addressing Dr. Attari's Criticism Using
                        Analysis Performed in Coffman Report                                              Dr. Attari's Calculations of the ICE WTI Oil
                                                                                                                         Futures Returns
                                                                            Days with No News,
                                                  Earnings                  Analyst Reports, or               Earnings                  Days with No News,
               Statistic                       Announcements                   SEC Filings                 Announcements            Analyst Reports, or SEC Filings


                   N                                    17                           316 (1)                        17                              314 (2)


    Significant Days at 95%
                                                        3                              14                           3                                 13
       Confidence Level

  % Significant Days at 95%
                                                   17.65% (3)                        4.43%                     17.65% (4)                           4.14%
      Confidence Level

        Average Absolute
                                                    4.16% (5)                        2.52%                      4.14% (6)                           2.51%
        Abnormal Return


 Average Volume (Millions)                           0.71 (7)                          0.3                       0.71 (8)                             0.3

Notes:
(1) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 316 days with no news. Days with no news
were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not
recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 314 days with no news. Days with no news
were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not
recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 17.65% rate of statistical significance is statistically significantly different than 4.43% at the 95% confidence level.
(4) 17.65% rate of statistical significance is statistically significantly different than 4.14% at the 95% confidence level.
(5) 4.14% absolute return is statistically significantly different than 2.52% based on a t-test for difference of means at the 95% confidence level.
(6) 4.16% absolute return is statistically significantly different than 2.51% based on a t-test for difference of means at the 95% confidence level.
(7) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.
(8) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.




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                                             11619
                                                                  Rebuttal Exhibit 9
 Dr. Attari's Criticism That I Incorrectly Computed the Returns of The ICE WTI Oil Futures Index Does Not Impact My Finding of Market Efficiency
                                                  for Miller Energy Series C 10.75% Preferred Stock
                                                                                                                             Analysis Addressing Dr. Attari's                       Analysis Addressing Dr. Attari's
                                                                                                                            Criticism Using Raw Returns & Dr.                      Criticism Using Dividend Adjusted
                            Analysis Performed in Coffman Report
                                                                                                                            Attari's Calculated WTI ICL Futures                   Returns & Dr. Attari's Calculated WTI
                                                                                                                                        Index Returns                                   ICL Futures Index Returns

                                                                                                                                                     Days with No News,                                     Days with No News,
                                                  Material                       Days with No News,                            Material              Analyst Reports, or              Material              Analyst Reports, or
               Statistic                       Announcements                 Analyst Reports, or SEC Filings                Announcements               SEC Filings                Announcements               SEC Filings


                 N (1)                                  9                                     192 (1)                                 9                        192 (2)                      9                        192 (3)


     Significant Days at 95%
                                                        5                                       9                                     5                           9                         5                           9
        Confidence Level

    % Significant Days at 95%
                                                   55.56% (4)                                 4.69%                             55.56% (5)                     4.69%                   55.56% (6)                    4.69%
        Confidence Level

         Average Absolute
                                                    27.34%(7)                                 1.28%                             27.32% (8)                     1.25%                   27.33% (9)                    1.26%
         Abnormal Return


   Average Volume (Millions)                         0.08 (10)                                 0.02                               0.08 (11)                     0.02                     0.08 (12)                    0.02


Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 192 days
with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial
report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for (7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 192 days
with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial
report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 192 days
with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial
report (12/24/2013 and 10/14/2014), have been added as news dates.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(5) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(6) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(7) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(8) 27.32% absolute return is statistically significantly different than 1.25% based on a t-test for difference of means at the 99% confidence level.
(9) 27.33% absolute return is statistically significantly different than 1.26% based on a t-test for difference of means at the 99% confidence level.
(10) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(11) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(12) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.




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                                                                  11620
                                                                 Rebuttal Exhibit 10
 Dr. Attari's Criticism That I Incorrectly Computed the Returns of The ICE WTI Oil Futures Index Does Not Impact My Finding of Market Efficiency
                                                   for Miller Energy Series D 10.5% Preferred Stock
                                                                                                                            Analysis Addressing Dr. Attari's                        Analysis Addressing Dr. Attari's
                                                                                                                           Criticism Using Raw Returns & Dr.                       Criticism Using Dividend Adjusted
                            Analysis Performed in Coffman Report
                                                                                                                           Attari's Calculated WTI ICL Futures                    Returns & Dr. Attari's Calculated WTI
                                                                                                                                       Index Returns                                    ICL Futures Index Returns
                                                                                                                                                     Days with No News,                 Days with No News,
                                                 Material                        Days with No News,                           Material               Analyst Reports, or    Material   Analyst Reports, or SEC
               Statistic                      Announcements                  Analyst Reports, or SEC Filings               Announcements                SEC Filings      Announcements         Filings

                  N                                     9                                    118 (1)                                 9                        118 (2)                      9                        118 (3)


     Significant Days at 95%
                                                        5                                       4                                    5                           3                         5                           5
        Confidence Level

    % Significant Days at 95%                                  (4)                                                                          (5)                                                  (6)
                                                   55.56%                                    3.39%                              55.56%                        2.54%                   55.56%                        4.24%
        Confidence Level

         Average Absolute
                                                   22.92% (7)                                2.09%                              22.82% (8)                    2.07%                   22.82% (9)                    2.05%
         Abnormal Return


                                                            (10)                                                                         (11)                                                  (12)
   Average Volume (Millions)                         0.13                                     0.02                                0.13                         0.02                    0.13                          0.02


Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 118 days with
no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
(12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 118 days with
no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
(12/24/2013 and 10/14/2014), have been added as news dates.
(3) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 118 days with
no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
(12/24/2013 and 10/14/2014), have been added as news dates.
(4) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(5) 55.56% rate of statistical significance is statistically significantly different than 2.54% at the 99% confidence level.
(6) 55.56% rate of statistical significance is statistically significantly different than 4.24% at the 99% confidence level.
(7) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(8) 22.82% absolute return is statistically significantly different than 2.07% based on a t-test for difference of means at the 99% confidence level.
(9) 22.82% absolute return is statistically significantly different than 2.05% based on a t-test for difference of means at the 99% confidence level.
(10) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(11) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(12) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.




                              Case 3:16-cv-00121-TAV-DCP Document 142-1 Filed 06/14/19 Page 54 of 113 PageID #:
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                                    Appendix A
                                Documents Considered

  Previous Reports in This Matter
     •   Expert Report of Chad Coffman, CFA, April 19, 2019, including all data and documents
         included in Appendix A of that report.
     •   Expert Report of Dr. Mukarram Attari, PhD, May 13, 2019, including all data, analyses,
         and back-up materials provided by Dr. Attari to counsel for Lead Plaintiff that Dr. Attari
         claims to have considered in connection with this report.
  Court Documents
     •   Expert Report of Dr. Mukarram Attari, in Dalton Petrie, et al, v Electronic Game Card,
         Inc., et al, and Penny Pace, et al, v. Timothy Quintanilla, et al, No. 10‐0252 and 14‐2067,
         filed June 1, 2015 (C.D. California).
     •   Gaynor v. Miller, No. 15-cv-545, 2018 WL 3751606 (E.D. Tenn. Aug. 6, 2018)
     •   KPMG LLP’S Memorandum of Law in Support of its Motion to Exclude the Reports and
         Testimony of Chad Coffman, filed May 21, 2019 No. 3:16-cv-00121-TAV-DCP (E.D.
         Tennessee)
     •   Opposition of KPMG LLP to Plaintiff’s Motion to Certify the Classes, Appoint Class
         Representatives, and Appoint Class Counsel in Lewis Cosby et al. vs KPMG LLP, filed
         May 21, 2019, No. 3:16-cv-00121-TAV-DCP (E.D. Tennessee).
     •   Second Amended Class Action Complaint in Lewis Cosby, et al. vs KPMG LLP, filed
         September 15, 2017, No. 3:16-cv-00121 (E.D. Tennessee).
  Depositions
     •   Deposition of Chad Coffman, CFA, April 12, 2019.
     •   Deposition of Chad Coffman, CFA, April 25, 2019.
     •   Deposition of Dr. Mukarram Attari, Ph.D. June 6, 2019.
  Court Decisions and Securities Law
     •   Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, § 8.6. (Aug. 1988).
     •   Cammer, et al., v. Bruce M. Bloom, et al., 711 F. Supp. 1264 (D.N.J. 1989).
     •   Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D. Tenn.)
     •   Hatamian v. Advanced Micro Devices, Inc., No.4:14-cv-00226 (N.D. Cal.).
     •   Laborers Pension Trust Fund – Detroit, vs. Conn’s, Inc., 4:14-cv-00548 (S.D. Tex.).
     •   Leon D. Milbeck v. TrueCar Inc, No. 2:18-cv-02612 (C.D. Cal.).
     •   Private Securities Litigation Reform Act of 1995, dated December 22, 1995, 737, 748-49.
     •   Memorandum and Order filed May 20, 2014, in re: BP p.l.c Securities Litigation, MDL
         No: 10-md-2185, Civil Action No. 4:10-md-2185 (S.D. Texas).
  Security Data
     •   Data on institutional holdings obtained from Bloomberg using the HDS function.




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  News Articles and Earnings Calls
     •   “Camber Energy, Inc. Announces That It Has Regained Compliance with All NYSE
         American Continued Listing Standards,” Accesswire, June 5, 2019.
     •   “Glacier Oil & Gas Corp. FQ4 2014 Earnings Call Transcripts” S&P Capital IQ. 15 July
         2014. Web. 3 June 2019.
     •   “How to Play Preferreds,” MoneyShow, 2017.
     •   “Novan Achieves Compliance with Nasdaq Listing Rule 5450(b)(2)(A),” Globe
         Newswire June 6, 2019.
     •   “ReWalk Robotics Regains Compliance with Nasdaq Listing Rules 5550(a) and
         5550(b),” Globe Newswire, April 26, 2019.
     •   “Press Release: Miller Energy Provides Details Concerning Recent Events Including
         Receipt of NYSE Continued Listing Notice,” Dow Jones Newswires, April 29, 2015.
     •   “Press Release: Miller Energy Defers Cash Dividends on Its Series C and Series D
         Preferred Stock,” Dow Jones Newswires, May 6, 2015.
  Miller Energy Analyst Reports
     •   “LOWERING TARGET: Notices Raise Concerns, But Liquidity Appears Stable,
         Maintain Buy Rating,” MLV & Co. LLC, May 1, 2015.
     •    “MILL releases unaudited fourth quarter and fiscal 2015 results,” Noble Financial
         Capital Markets, July 30, 2015.
     •    “Miller Energy Resources: Slightly Lower on Higher Payments, Timing of Production
         Key,” SunTrust Robinson Humphrey, August 30, 2011.
     •    “TURNING THE CORNER: Kitchen Sink of a Quarter Could Mark a Bottom, New
         Strategy in Place," MLV & Co. LLC, December 10, 2014.
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         and Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance 35(1)
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     •    J. M. Jr., “Redemption of Preferred Shares,” University of Pennsylvania Law Review and
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     •    MacKinlay, A. Craig, “Event Studies in Economics and Finance,” Journal of Economics
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     •    Reilly, Frank K. and Keith C. Brown, Investment Analysis and Portfolio Management,
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     •    Sanger, Gary C. and James D. Paterson, “An Empirical Analysis of Common Stock
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          the Courtroom,” in Litigation Services Handbook, The Role of the Financial Expert,
          Third Edition, Wiley, 2001.
  Other
     •    http://www.dtcc.com/about/businesses-and-subsidiaries/dtc
     •    https://www.cmegroup.com/trading/why-futures/welcome-to-nymex-wti-light-sweet-
          crude-oil-futures.html
     •    https://indexes.nasdaqomx.com/docs/methodology_COMP.pdf
     •    https://www.sec.gov/divisions/corpfin/guidance/safinterp.htm
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                                    11624
                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                              KNOXVILLE DIVISION




     LEWIS COSBY, KENNETH R. MARTIN,               )
     as beneficiary of the Kenneth Ray Martin      )
     Roth IRA, and MARTIN WEAKLEY on               )
     behalf of themselves and all others           )
     similarly situated,                           )
                                                   )
                 Plaintiffs,                       )
                                                   )
     v.                                            ) No.: 3:16-CV-121-TAV-DCP
                                                   )
     KPMG, LLP,                                    )
                                                   )
                 Defendant.                        )




              EXPERT REBUTTAL REPORT OF CHAD COFFMAN, CFA




                                   June 14, 2019




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      I.      INTRODUCTION

             1.     On March 15, 2019 and April 19, 20191, I submitted expert reports in this matter in

  which I opined: (1) that the markets for Miller Energy Securities2 were efficient during the

  Analysis Period3; and (2) that damages in this case could be calculated for both the Section 10(b)

  Class and the Section 11 Class pursuant to class-wide approaches consistent with Lead Plaintiffs’

  claims.4

             2.     Despite Defendant’s attempt to characterize my methodology as unreliable and

  containing many errors, the reality is that, out of many thousands of calculations and

  assessments, I made two errors in my Initial Report that impacted my calculations. Neither was

  an error in the general methodology I employed to analyze market efficiency.5 Instead, one error

  involved assigning an incorrect market date to a single Miller Energy earnings announcement,

  and the other was the inadvertent exclusion of two sources cited in the Complaint when assessing

  which days during the Analysis Period contained news. I readily admitted to the inadvertent

  errors, corrected them in a new report, and empirically demonstrated that my ultimate


  1
   On March 15, 2019, I submitted an expert report in this matter (my “Initial Report”). On April 19, 2019, I
  submitted a corrected report (the “Coffman Report” or my “Report”), which replaced my Initial Report.
  2
    As in my Report, the term Miller Energy Securities refers to Miller Energy common stock (“Miller Energy
  Common Stock” or “Common Stock”) and Miller Energy’s two preferred securities (“Miller Energy Preferred
  Securities” or “Preferred Securities”): Miller Energy 10.75% Series C Cumulative Redeemable Preferred Stock
  (“Miller Energy Series C Preferred Stock” or “Series C Preferred Stock”), and Miller Energy 10.5% Series D Fixed
  Rate/Floating Rate Cumulative Redeemable Preferred Stock (“Miller Energy Series D Preferred Stock” or “Series D
  Preferred Stock”).
  3
    The stated Class Period in the Second Amended Class Action Complaint is August 29, 2011 – October 1, 2015,
  however, in my Report, I opined on market efficiency from the beginning of the Class Period through July 30, 2015
  (i.e. the market date before Miller Energy Securities were delisted from the New York Stock Exchange). This
  timeframe is the Analysis Period.
  4
      Unless otherwise defined herein, all capitalized terms shall have the meanings given to them in the Report.
  5
   This methodology has led to successful class certification in dozens of securities litigation matters. For example,
  Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D.Tenn.); Hatamian v. Advanced Micro
  Devices, Inc., No. 4:14-cv-00226 (N.D. Cal.); Laborers Pension Trust Fund – Detroit, vs. Conn’s, Inc., 4:14-cv-
  00548 (S.D. Tex.); and Leon D. Milbeck v. TrueCar Inc, No. 2:18-cv-02612 (C.D. Cal.), to name but a few.



                                                          4

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  conclusions and opinions were unaffected by the errors. My overall methodology was unaltered.

  While I strive for perfection, that does not always occur.6

          3.     Following the submission of my Report, counsel for Lead Plaintiffs provided me

  with a copy of the May 13, 2019 Expert Report of Dr. Mukarram Attari, Ph.D. (the “Attari

  Report”) prepared in connection with Defendant’s Opposition to Plaintiffs’ Motion for Class

  Certification, and the sworn deposition transcript of Dr. Attari taken on June 4, 2019 (“Attari

  Deposition”), and asked me to review and respond to the Attari Report and Attari Deposition. In

  summary, nothing contained in the Attari Report or Attari Deposition changes the opinions I

  have offered in this matter. The remainder of this Rebuttal Report provides my response to the

  Attari Report and Attari Deposition.

          4.     In formulating my opinions set forth in this Rebuttal Report, I relied upon my

  Report and my knowledge, experience, and formal training in economics, finance, and statistics,

  as well as the allegations and facts set forth in this lawsuit. In performing the analyses set forth in

  this Rebuttal Report, I also considered: (1) the Attari Report; (2) data, analyses, and back-up

  materials provided by Dr. Attari to counsel for Lead Plaintiffs that Dr. Attari claims to have

  considered in connection with his analyses; (3) the Attari Deposition; and (4) other relevant

  materials and information. All of the materials that I relied upon and considered in reaching my

  opinions in this Rebuttal Report are identified in the attached Appendix A, as well as in the

  Appendices to my Report.

          5.     Global Economics Group is being compensated at an hourly rate of $800 per hour

  for my work on this matter, and at rates between $170 and $450 per hour for members of my



  6
    The correction of these two errors impacted a number of subsequent calculations in my Report. The changing of
  these numbers does not reflect independent errors. Based upon my review, I also made certain non-substantive
  corrections that did not influence any calculations or outcomes in any way.

                                                     5

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  staff who performed work in connection with this Rebuttal Report under my direction and

  supervision. My compensation is in no way contingent on the outcome of this case or the

  opinions offered.

             6.     I reserve the right to amend this Rebuttal Report, including to reflect new

  information that becomes available to me in light of the discovery process or future rulings from

  the Court.

      II.     DR. ATTARI DOES NOT DISPUTE THAT THE MARKET FOR MILLER
              ENERGY COMMON STOCK WAS EFFICIENT

              A. DR. ATTARI DOES NOT DISPUTE THAT MY ANALYSIS OF THE
              CAMMER AND KROGMAN FACTORS DEMONSTRATES THAT THE
              MARKET FOR MILLER ENERGY COMMON STOCK WAS EFFICIENT

             7.     Dr. Attari provides no evidence or opinions to contradict my opinion of market

  efficiency for Miller Energy Common Stock. Indeed, he either readily concedes, or does not

  dispute, my findings for the Cammer and Krogman factors as they relate to Miller Energy

  Common Stock:

                          a. Dr. Attari affirmatively concurs that the average weekly trading volume

                                  for Miller Energy Common Stock surpassed the threshold level necessary

                                  for an efficient market (Cammer Factor 1).7

                          b. Dr. Attari agrees that a number of analysts covered Miller Energy

                                  Common Stock throughout the Analysis Period (Cammer Factor 2).8




  7
      Attari Deposition 24:4-8.
  8
   Attari Report ¶171 and Attari Deposition 25:5-7. “Mr. Coffman has said there were – whatever – 10 or 15 analysts
  covering it…And I’m not disputing it in this report, yes.” Attari Deposition 26:2-7.



                                                       6

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                                    11630
                           c. Dr. Attari does not dispute my conclusion that Miller Energy Common

                               Stock met the market maker factor (Cammer Factor 3).9

                           d. Dr. Attari does not dispute that Miller Energy Common Stock traded on

                               the NYSE throughout the Analysis Period10 and that the NYSE has rules

                               that virtually guarantee a liquid market.11

                           e. Dr. Attari does not dispute that Miller Energy was able to file a Form S-3

                               throughout the majority of the Analysis Period (Cammer Factor 4).12

                               Additionally, Dr. Attari incorrectly states that when a company falls below

                               a market capitalization of $75 million, it is ineligible to file a Form S-3.13

                               In fact, the SEC does allow companies that have previously filed a Form

                               S-3, but have since fallen below $75 million in market value, to remain

                               Form S-3 eligible provided that they follow certain guidelines.14 Despite

                               Dr. Attari’s flawed criticism, he acknowledges that Miller Energy was S-3

                               eligible for the majority of the Analysis Period15 and offers no economic

                               logic for why short-term S-3 ineligibility would impede the market from

                               remaining efficient.



  9
   Attari Deposition 60:19-23. (“Q: In your report, you don’t dispute that the number of market makers of Miller
  Energy’s common stock meets the standard under Cammer; correct? A: I don’t dispute that, yes.”)
  10
       Attari Deposition 114:20 – 115:2.
  11
    Attari Deposition 115:22 – 116:3 (“Q: In the EGC case we were discussing earlier, you claimed that the courts
  recognize that securities that trade or [are] listed on the New York Stock Exchange are likely to be efficient, didn’t
  you? A. Likely to be, yes.”)
  12
       Attari Deposition 66:1-8, 12-14.
  13
       Attari Report ¶¶191-192.
  14
     https://www.sec.gov/divisions/corpfin/guidance/safinterp.htm (accessed June 10, 2019) (“An issuer with less than
  $75 million in public float is eligible to use Form S-3 for a primary offering in reliance on Instruction I.B.6, which
  permits it to sell no more than one-third of its public float within a 12-month period.”)
  15
       Attari Deposition 66:1-8, 12-14.

                                                        7

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                         f. Dr. Attari does not dispute that there is a cause and effect relationship

                             between new news and changes in the market price for Miller Energy

                             Common Stock (Cammer Factor 5). More specifically, while Dr. Attari

                             makes a general (and incorrect) criticism of the threshold I use to evaluate

                             cause and effect (which I have used in dozens of other certified class

                             actions), Dr. Attari does not dispute the results of my statistical tests

                             demonstrating that:

                                  •   Miller Energy Common Stock is statistically significantly more

                                      likely (with over 95% confidence) to experience a statistically

                                      significant price movement on earnings announcement dates than

                                      “no news” dates.16

                                  •   Miller Energy Common Stock experienced statistically

                                      significantly (with over 95% confidence) greater volume on

                                      earnings announcement dates than “no news” dates. I have shown

                                      that the market price of Miller Energy Common Stock is more



  16
     See Coffman Report ¶¶74-75. Defendant makes note of the fact that I found that less than 50% of the earnings
  announcements had a statistically significant price movement, but this is an irrelevant threshold (KPMG LLP’S
  Memorandum of Law in Support of its Motion to Exclude the Reports and Testimony of Chad Coffman, filed May
  21, 2019 No. 3:16-cv-00121-TAV-DCP (E.D. Tenn)). Indeed, there are numerous reasons why many earnings
  announcements may not be statistically significant that are entirely consistent with market efficiency. For example,
  as mentioned in my Report and as Dr. Attari testified, the information released may have been largely consistent
  with expectations, there may have been a mix of positive and negative information, or the market may be focused
  largely on other factors (Coffman Report ¶¶74-75, Attari Deposition 130:8-132:3). The financial economics
  literature is clear that there is no theoretical or mathematical reason to believe that the fraction of news days
  associated with statistically significant returns should exceed fifty percent in an efficient market (See Tabak, David.
  “What We Should Expect When Testing for Price Response to News in Securities Litigation,” NERA Economic
  Consulting, 2016 pp. 1-17.). Dr. Attari further acknowledges that he does not know of, and has not calculated, an
  appropriate threshold and admits that should a threshold be calculated, it may even be less than fifty percent (Attari
  Deposition 123:1-128:12.) The fact that less than fifty percent of earnings announcements were associated with
  statistically significant price movements for Miller Energy Common Stock does not impact my finding that there
  was a cause and effect relationship between new news and Miller Energy Common Stock.



                                                        8

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                                        likely to experience statistically significant price movements, have

                                        price movements that are larger, and experience greater volume on

                                        earnings announcement dates than “no news” dates. Beyond these

                                        scientific tests, Dr. Attari does not even address other clear and

                                        convincing examples from my Report that further demonstrate a

                                        clear cause and effect relationship.17 Put simply, Dr. Attari does

                                        not opine there is a lack of cause and effect relationship between

                                        new information and the market price of Miller Energy Common

                                        Stock, and he does not dispute the results of the statistical tests I

                                        conducted.

                             g. Dr. Attari does not dispute that 181 institutions reported owning Miller

                                Energy Common Stock during the Analysis Period and that this substantial

                                level of institutional ownership supports a conclusion of market efficiency

                                (Krogman Factor).18

                             h. Dr. Attari mischaracterizes my report when he claims that I do not

                                consider the public float of Miller Energy Common Stock in my analysis

                                of market efficiency (Krogman Factor).19 Exhibit 16 of my Report

                                analyzes the shares outstanding, insider and institutional holdings, and

                                public float of Miller Energy Common Stock. Throughout the Analysis

                                Period, insiders held, on average, 21.3% of all shares outstanding of Miller

                                Energy Common Stock, meaning that 78.7% of shares were held by non-


  17
       See Coffman Report ¶¶vi -xiii.
  18
       Attari Deposition 82:5-12.
  19
       Attari Report ¶124.

                                                       9

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                                    11633
                               insiders. This large percentage of shares held by non-insiders supports a

                               finding of market efficiency, and Dr. Attari does not dispute this further.

                          i. Dr. Attari does not dispute that the bid-ask spread for Miller Energy

                               Common Stock was reasonably low (Krogman Factor).20 He does not

                               dispute that the average percentage bid-ask spread for Miller Energy

                               Common Stock in each month was between 0.1535% and 1.7477%. He

                               does not dispute that prior to the market prices of Miller Energy Securities

                               substantially falling, the bid-ask spread for Miller Energy Common Stock

                               was below the average bid-ask spread of a random sample of 100 other

                               common stocks trading on the NYSE and NASDAQ in December 2014, as

                               illustrated in my Report. Dr. Attari does not dispute that this factor

                               provides evidence that Miller Energy Common Stock traded in an efficient

                               market throughout the Analysis Period.

             8.     Finally, while neither a Cammer Factor nor a Krogman Factor, Dr. Attari does not

  dispute that there was option trading in Miller Energy Common Stock during the Analysis

  Period.21 Additionally, he does not dispute that the existence of active option trading in Miller

  Energy Common Stock provides evidence supporting efficiency.

             9.     In sum, Dr. Attari either concedes or does not dispute the evidence provided in my

  Report that the Cammer and Krogman factors set out by the courts are satisfied for Miller Energy

  Common Stock.




  20
       Attari Deposition 78:8-17.
  21
       Attari Deposition 96:6-10.

                                                     10

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                                    11634
             B. MY CALCULATION OF THE MILLER COMMON STOCK ABNORMAL
                RETURN ON OCTOBER 24, 2011 WAS PROPER

             10.    Although he does not dispute that the market for Miller Energy Common Stock was

  efficient, Dr. Attari criticizes the method by which I calculated an abnormal return on a single

  day for Miller Energy Common Stock.22 My treatment of this day is a matter of valid, statistical

  judgment. When confronted with missing values for a control index, there are several different

  options for handling the issue. For the next day in which the value for the control index appears,

  one could throw out the return for that day (and lose part of the sample) or use the multiple-day

  return for the control index, but understand it may introduce some level of potential

  measurement error into the model.23 In this particular case, my judgment was that including a

  multiple day return in the Oil Price Index did not introduce substantial measurement error. This

  judgment is borne out by the fact that my results are robust to either treatment. Furthermore, the

  missing index data issue is not present at all if the NYMEX WTI Oil Index is used and, as

  reflected in Rebuttal Exhibit 1, the conclusions from my cause and effect analysis are

  unaltered.24




  22
       Attari Report §IV.C.4.
  23
    In this context “measurement error” is a statistical concept that is distinct from a computational error. All models
  have some level of measurement error because they are models that rely on underlying statistical assumptions. See
  Greene, William, Econometric Analysis, MacMillan, 1990, p. 293. (“Thus far, it has been assumed (at least
  implicitly) that the data used to estimate the parameters of our models are true measurements on their theoretical
  counterparts. In practice, this happens only in the best of circumstances. All sorts of measurement problems creep
  into the data that must be used in our analyses.”)
  24
     Dr. Attari correctly notes that the two days with missing abnormal returns were incorrectly treated as no news
  days with statistically significant abnormal returns. Again, using the NYMEX index eliminates this issue and even
  if I simply correct the original treatment it strengthens the evidence of a cause and effect relationship.

                                                       11

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                                    11635
   III.       I DEMONSTRATED THAT THE MARKETS FOR MILLER ENERGY SERIES
              C AND SERIES D PREFERRED SHARES WERE EFFICENT AND DR.
              ATTARI’S CRITICISMS ARE EITHER MISPLACED, MISLEADING, OR
              INCORRECT

             A. MILLER PREFERRED SECURITIES WOULD NOT BE EXPECTED TO
                REACT TO EARNINGS ANNOUNCEMENTS PRIOR TO CONCERNS
                ABOUT SOLVENCY

             11.    In my Report, I explained using economic logic why one would not expect to see

  the market price of Miller Energy Series C and Series D Preferred Stock react to earnings

  announcements.25 As explained in my Report, as a general matter, one would not expect Miller

  Energy Preferred Securities to react to changes in earnings that did not cause the market to

  question the solvency of the firm. Dr. Attari never addresses this logic from my Report and

  simply suggests, without economic support, that in an efficient market one would expect

  preferred stock to react to earnings announcements.26 This is demonstrably false and

  inconsistent with economic theory.

             12.    As I explained in my Report, for non-convertible debt-like securities (which applies

  to Series D) or for convertible debt-like securities where the common stock price is below where

  conversion to common would be profitable (which applies to Series C), investors in preferred

  shares would (unlike common shareholders) not receive any higher expected cash flows from a

  positive earnings surprise. This flows directly from the basic valuation principle that all

  securities are valued based upon the expected future cash flows to those security-holders,

  discounted at the appropriate rate.27 As described in the Coffman Report, Miller Energy


  25
       Coffman Report ¶51.
  26
       Attari Report ¶¶134-135, 141.
  27
    Reilly, Frank K. and Keith C. Brown, Investment Analysis and Portfolio Management, The Dryden Press, Sixth
  Edition, 2000, p. 82; Brealey, Richard A. and Stewart C. Myers, Principles of Corporate Finance, McGraw-Hill,
  1988, Third Edition, pp. 308-309.



                                                    12

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  Preferred Securities are entitled to the payment of preferred dividends and eventually the

  redemption value.28 Only common stockholders are entitled to residual earnings over and above

  what is necessary to service debt and preferred securities. As a result, all else being equal, an

  additional dollar of earnings at the margin would have no influence on the market value of

  preferred securities. Likewise, a negative earnings surprise, as long as it was not sufficiently

  large to call into question the payment of preferred dividends, would not lower the expected cash

  flows to preferred shareholders.29 Dr. Attari does not, and cannot, refute this most

  straightforward application of basic valuation concepts to the Miller Energy Preferred Securities.

          13.    However, this economic logic changes once the market begins to question whether

  there will be enough resources to continue paying preferred dividends. A clear signal of this

  market concern occurs when preferred shares start trading substantially below their redemption

  value, because it reflects the market’s belief that the cash available to satisfy preferred dividends

  and redemption of the preferred shares is more uncertain.30 In those circumstances, the

  availability of cash flows to pay preferred dividends is more closely tied to the short-term

  financial prospects of the firm. As such, one would expect greater sensitivity to earnings

  announcements. This is precisely the logic and rationale for (1) considering different events

  before and after the preferred securities started trading below their redemption value and (2) why


  28
    Miller Energy Series C Preferred Stock may have also become sensitive to earnings announcements had the
  Common Stock approached or exceeded $10 per share because of the conversion features outlined in its prospectus.
  However, Miller Energy Common Stock did not reach that value during the Analysis Period. Series D Preferred
  Stock, meanwhile, was non-convertible and was therefore not sensitive to any conversion feature. For further
  information on the terms and conditions of Miller Energy Series C and Series D Preferred Stock, please see
  Appendix C from my Report.
  29
    Attari Deposition 132:17-21 (“So preferred stockholders get paid after debt holders have been paid but before
  common stockholders are paid. They typically have a stated dividend.”)
  30
    Emanuel, David. “A Theoretical Model for Valuing Preferred Stock.” The Journal of Finance, vol. 38, no. 4,
  1983. See also “How to Play Preferreds”, MoneyShow, 2017. (“If [a preferred share is] trading significantly below
  par, investors may have concerns about the company’s creditworthiness.”).



                                                      13

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  I did not consider earnings announcements prior to October 15, 2014 as a meaningful or

  statistically powerful set of dates to consider.31 Therefore, Dr. Attari’s analysis of the earnings

  announcements and whether they did not cause a statistically significant price movement for the

  preferred shares is neither surprising nor informative as to whether there was a cause and effect

  relationship for Miller Energy Preferred Securities. Moreover, Dr. Attari admits that “the

  information relevant to investors in Miller Energy’s common stock and the preferred stock was

  different” and that investors in the Preferred Securities need information besides earnings

  announcements to evaluate the debt component of the preferred securities.32

             B. DR. ATTARI MISCHARACTERIZES MY REFERNCES TO THE
                APPLICABLE DISCOUNT RATE AND THE TIME VALUE OF MONEY

             14.    Dr. Attari also misleadingly asserts that my Report suggested that the market price

  of Miller Energy Preferred Securities should only be impacted by risk-free interest rates prior to

  October 15, 2014.33 My report makes no such suggestion. As quoted by Dr. Attari, I state,

  “from the time of the issuance of each of the Preferred Securities to the time where the market

  prices substantially fall below the par value (and therefore indicating an increased risk of

  default), market price would be driven primarily by changes in the time value of money (i.e. the

  applicable discount rate).”34 Basic valuation theory explains that the “applicable discount rate”

  for a security incorporates both risk free rates and the relevant security-specific risk premium.35

  Any suggestion that I was referring only to risk free rates is misleading and incorrect (indeed I


  31
    By statistically powerful, I mean that it would have little ability to distinguish between a market where there was a
  cause and effect relationship and one that did not.
  32
       Attari Report ¶173.
  33
       Attari Report ¶139.
  34
       Attari Report ¶136. Emphasis added.
  35
       Brealey et al. Principles of Corporate Finance, Tenth Edition, McGraw-Hill, 2010, Chapter 3.



                                                        14

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  never even mention the term “risk-free rate”). As a result, the analysis performed by Dr. Attari

  to show that returns of Miller Energy Preferred Securities were not correlated with risk free rates

  proves nothing, and is not at all inconsistent with any statement in my Report.36 I never

  suggested risk-free rates alone could or would explain the returns of the Preferred Securities.37

             C. DR. ATTARI’S CLAIM THAT I ENGAGED IN DATA SNOOPING IS
                UNSUPPORTED AND FALSE

             15.    Dr. Attari also falsely asserts without any evidence that I may have engaged in data

  snooping to determine which events to test.38 My Report clearly identified the objective criteria I

  used to determine the news dates I tested for Miller Energy Preferred Securities. Moreover, the

  selection criteria flow naturally from my discussion of how preferred stocks differ from common

  stocks and what types of news would be expected to impact preferred shares – a fact that Dr.

  Attari conceded at his deposition.39 Again – my criteria was: “firm-specific events that clearly

  updated the market regarding the ability of the Company to continue paying dividends or for the

  securities to continue trading on the exchange.”40 Dr. Attari provides no authority or economic

  rationale to reject considering events related to dividend policy as an objective set of dates to

  test. Dr. Attari does not dispute that information about delisting would be relevant to a valuation

  of Miller Energy Preferred Securities. Dr. Attari’s suggestion that the delisting itself did not



  36
       Attari Report ¶¶138-139.
  37
     To the extent Dr. Attari is interpreting my use of the phrase “time value of money” to specifically mean a “risk-
  free rate”, he is simply wrong. The discount rate (which I clearly reference in my Report as a synonym for what I
  meant by time value of money) is the rate at which an investor in the Preferred Securities is willing to trade money
  today for money tomorrow within the context of an investment in the Preferred Securities. That is the relevant “time
  value of money” or “yield” necessary to compensate the investor for use of their capital. See Brigham, Eugene F.
  and Joel F. Houston. Fundamentals of Financial Management, Eighth Edition, The Dryden Press, 1998, Chapter 6.
  38
       Attari Report ¶132.
  39
       Attari Deposition 135:5-18.
  40
       Coffman Report ¶52.



                                                      15

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  provide unexpected news is simply wrong and inconsistent with the facts.41 There are many

  cases in which a notice of potential delisting does not lead to an actual delisting.42

             D. DR. ATTARI’S SUGGESTION THAT THERE IS NO SUPPORT FOR THE
                TESTS I PERFORM IN EXHIBIT 10 AND 12 OF MY REPORT IS SELF-
                CONTRADICTORY, IGNORES THE MOST BASIC PRINCIPLES OF
                HYPOTHESIS TESTING, AND IS INCONSISTENT WITH CASE LAW

                              i.    DR. ATTARI CONTRADICTS HIMSELF WHEN HE FALSELY
                                    CLAIMS THERE IS NO LITERATURE TO SUPPORT MY
                                    TESTS


             16.    Dr. Attari acknowledges that there is literature specific to class action securities

  cases published by a firm typically associated with defense experts describing the methodology I

  employed to test for cause and effect and finding that it is both valid and superior to methods that

  historically were used to establish market efficiency in this context.43 He also acknowledges that

  the methodology I employed has been evaluated and accepted by numerous courts over many

  years.44 The literature that Dr. Attari cites claims that “what is needed, therefore, is a test that

  examines the response of the stock price to news…. In the case of testing whether there is a

  cause and effect relationship between news and movements in a stock price, this means not

  simply finding a case where there was news and a stock price movement, but finding two


  41
       See Section V below.
  42
    Sanger, Gary C. and James D. Paterson, “An Empirical Analysis of Common Stock Delistings,” The Journal of
  Financial and Quantitative Analysis, Vol. 25 (2), 1990 pp. 262-272. (“The period 1962-1985, a total of 363 NYSE
  and ASE firms fell below their respective aggregate market value requirements. Of these, 225 were delisted.” p. 263
  fn.1) For more recent evidence of stocks regaining compliance with the NYSE and NASDAQ following a delisting
  notification see “ReWalk Robotics Regains Compliance with Nasdaq Listing Rules 5550(a) and 5550(b),” Globe
  Newswire, April 26, 2019; “Camber Energy, Inc. Announces That It Has Regained Compliance with All NYSE
  American Continued Listing Standards,” Accesswire, June 5, 2019; and “Novan Achieves Compliance with Nasdaq
  Listing Rule 5450(b)(2)(A),” Globe Newswire June 6, 2019.
  43
    Due to its specific and limited applications outside its scope, it is unsurprising that the specific methods used to
  establish market efficiency in the niche area of class action securities cases has not been the subject of peer reviewed
  economic literature.
  44
       Attari Deposition 121:5 - 122:6.



                                                        16

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  samples of defendant’s stock prices-one with news and one without-and testing whether the price

  movements for the two samples are distinguishable.”45 This is precisely the methodology I utilize

  in my Report.

          17.    Dr. Attari’s criticism of my methodology also ignores that the test I perform is a

  standard hypothesis test that is ubiquitous in applications of the scientific method, and is entirely

  consistent with the literature he cites. For example, my approach is akin to the tests used to

  evaluate drug products. The news dates represent the “treatment” group and the no news dates

  represent the “placebo” group. My tests show that there are statistically significant differences in

  outcomes between the two groups. This is quintessential hypothesis testing that is described in

  basic statistical textbooks.46

          18.    In addition, Dr. Attari’s criticism ignores that the methodology I employed is

  endorsed in the academic literature that he himself cited. For Dr. Attari to suggest there is “no

  support” for my methodology is disingenuous and misleading. Further, his suggestion that I am

  using a “low threshold” is directly contradicted by the fact that I am requiring the news dates to

  be statistically significantly different than the no news dates at the standard level used for

  hypothesis testing – namely, that I can reject with 95% confidence that the price movements on

  the news dates are the same as the price movements on the no-news dates. This test is




  45
    Ferrillo, Paul A., Frederick C. Dunbar, PhD, and David Tabak, PhD, “The ‘Less Than’ Efficient Capital Markets
  Hypothesis: Requiring More Proof From Plaintiffs In Fraud-On-The-Market Cases,” St. John’s Law Review, Vol.
  28(1), 2004. See also David Tabak, “Use and Misuses of Event Studies to Examine Market Efficiency,” NERA
  Economic Consulting, September 11, 2009.
  46
    Tabak, David I. and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” in
  Litigation Services Handbook, The Role of the Financial Expert, Third Edition, Wiley, 2001; MacKinlay, A. Craig,
  “Event Studies in Economics and Finance,” Journal of Economics Literature 35(1) (1997), pp. 13-39 (The null
  hypothesis is “…that the event has no impact on the behavior of returns (mean or variance)”, p. 21); Binder, John,
  “The Event Study Methodology Since 1969,” Review of Quantitative Finance and Accounting 11 (1998), pp. 111-
  137; Aharony, Joseph and Itzhak Swary, “Quarterly Dividend and Earnings Announcements and Stockholders’
  Returns: An Empirical Analysis,” The Journal of Finance 35(1) (1980), pp. 1-12.

                                                      17

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  completely in line with the literature that Dr. Attari cites, which tests for stock price movements

  at both the 90 percent and 95 percent confidence level. Again, Dr. Attari provides no authority or

  support to suggest that using the typical threshold for inference testing in scientific inquiry

  generally, and in the financial economics discipline specifically, is a “low threshold.”

             19.    Dr. Attari suggests more specifically that my comparison of absolute abnormal

  returns and trading volume do not take into account that some of the no-news dates are drawn

  from the period of time when volatility and volume were lower and, therefore, potentially bias

  my test for those measures.47 While he suggests this renders the tests “invalid”, he is wrong.48

  All statistical tests have potential sources of bias. The question is whether the bias is sufficiently

  large to render the test unreliable. Rebuttal Exhibits 2 and 3 show that even if I perform the

  same comparison over the post-October 15, 2014 period so that all the data are coming from the

  higher volatility and volume period, the differences between the news and no news days are still

  significant at well over the 99% confidence level. Thus, while Dr. Attari identifies a minor

  potential source of statistical bias, I controlled for that bias and it does not alter the outcome of

  the test or impact the results.


                             ii.   DR. ATTARI MISCHARACTERIZES THE “MISGIVINGS”
                                   FELT BY THE AUTHORS OF THE LITERATURE HE CITES


             20.    Dr. Attari relatedly suggests that the authors of the methodology I employed

  express “strong misgivings” about that methodology. Dr. Attari is wrong. One of the authors of

  the methodology, Dr. Tabak, recently published literature supporting the appropriateness of the



  47
       Attari Report ¶¶142-144.
  48
       Attari Report ¶159.



                                                  18

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  “FDT methodology” I used, and discusses case law where the methodology has been applied and

  upheld.49 In fact, Dr. Tabak acknowledges that the methodology I employ is similar to those

  conducted in medical studies, in that the price movements on news days (the treatment) group

  are compared to price movements on no news days (the placebo group). He expresses no

  misgivings about the validity of this methodology, which has been employed in countless

  securities cases throughout the years.

          21.    Further, while Dr. Tabak correctly explains that event studies can be improperly

  performed to determine market efficiency, my method is not subject to these criticisms. I do not

  perform a non-rigorous “proof by example”, as some experts have, where the “proof” of market

  efficiency is a list of dates that happen to contain news and a statistically significant price

  reaction.

          22.    Although Dr. Attari accuses me of potentially “data snooping” in my selection of

  news days, I did no such thing and my method is in line with the literature he cites (“Fortunately,

  the relevant academic literature is clear: first one identifies news and then measures price

  movements associated with that news”).50 Dr. Attari’s literature suggests performing an FDT test

  (i.e. the test I perform), “in which news days and non-news days are categorized into those that

  are associated with statistically significant returns and those with statistically insignificant




  49
    Tabak, David, “What Should We Expect When Testing for Price Response to News in Securities Litigation,”
  NERA Economic Consulting, 2016, pp 1-17 “More recently, courts have accepted a number of tests of market
  efficiency that directly follow the FDT Test procedures, if not citing the FDT paper directly.”
  50
    Tabak, David I. and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” in
  Litigation Services Handbook, The Role of the Financial Expert, Third Edition, Wiley, 2001.



                                                    19

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                                    11643
  returns.”51 Therefore Dr. Attari’s claim that my cause and effect analysis has “no scientific

  basis” is unsupported by the very literature he cites.


                           iii.   MY METHODOLOGY HAS BEEN REPEATEDLY ACCEPTED
                                  BY COURTS THROUGHOUT THE COUNTRY AND IN THE
                                  6TH CIRCUIT

             23.   Dr. Attari’s criticism of the methodology I employed ignores the substantial and

  growing volume of case law that supports its’ use.52 I, like numerous other experts, have used

  the same overall approach to evaluate cause and effect in at least 25 prior reports where the class

  has been certified.53 Indeed, in many of those cases, my approach even goes unchallenged by

  defendants.

             E. DR. ATTARI’S SUGGESTION THAT MY ANALYSIS OF
                AUTOCORRELATION IS “RIDDLED WITH ERRORS” IS UNSUPPORTED
                BY THE TEXT OF HIS OWN REPORT

             24.   Dr. Attari does not identify any “errors” in my autocorrelation analysis (see Attari

  Report ¶¶ 161-166, which does not identify any “errors”).54 Instead, his criticism centers around

  the fact that (1) I ran only one type of test for autocorrelation; (2) that a lack of autocorrelation

  alone is not evidence of semi-strong form efficiency; and (3) that my test shows some

  autocorrelation.




  51
    Tabak, David I. and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” in
  Litigation Services Handbook, The Role of the Financial Expert, Third Edition, Wiley, 2001.
   Tabak, David I, “What Should We Expect When Testing for Price Response to News in Securities Litigation”,
  52

  NERA Economic Consulting, 2016.
  53
       For example, Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D. Tenn.)
  54
     To the extent he is referring to the purported “errors” referenced in Section IV of his report, I address these below
  in this Section, as well as Sections F and G.



                                                        20

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                                    11644
             25.    First, while a simple test, the test I perform is a standard method to assess

  autocorrelation.55 In fact, Dr. Attari has testified previously that my method is the “most

  common” test for autocorrelation.56 It is especially relevant to the context of market efficiency,

  because it is the one factor that tests for whether there is a systematic bias in the movement of

  returns. For example, if a stock regularly responded only partially to news, it would yield

  consistent positive autocorrelation under my test. Likewise, if the market consistently over-

  reacted, that would induce systematic negative autocorrelation. While Dr. Attari speculates that

  there could be more complex ways in which the stock is autocorrelated, he does not provide any

  such evidence.57 In other words, if yesterday’s stock price movement is not a consistent predictor

  of today’s price movement, there is no a priori reason to believe that there is a relationship with

  multiple prior days.

             26.    Second, I never claim in my report that the autocorrelation analysis proves market

  efficiency. Indeed I was very clear when I stated “… since there are no bright-line tests for

  efficiency, it is important to consider the identified efficiency factors as a whole because none of

  the individual tests or metrics is determinative as to whether a particular market is efficient.”58

  However, autocorrelation is one of the many factors I analyzed and the results are consistent

  with, and therefore supportive of, market efficiency.



  55
       Gujarati, D., Basic Econometrics, Third Edition, McGraw Hill, 1995, Chapter 12.
  56
     Expert Report of Dr. Mukarram Attari, in Dalton Petrie, et al, v Electronic Game Card, Inc., et al, and Penny Pace,
  et al, v. Timothy Quintanilla, et al, No. 10‐0252 and 14‐2067, filed June 1, 2015 (C.D. California). ¶28. (“The most
  common test for autocorrelation is the one that tests if a return on a given day is predicable by the prior day’s
  return.”)
  57
    Attari Deposition 92:15-21. (“Q: Can you explain what kind of complex arbitrage opportunity would be able to
  take place where the auto correlation coefficient reverses regularly like that. A. Sitting here, I haven’t done the work
  for it.”)
  58
       Coffman Report ¶22.



                                                        21

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                                    11645
             27.    Finally, Dr. Attari suggests that my autocorrelation test suggests that the market for

  the Miller Energy Preferred Securities was inefficient.59 Nothing could be further from the truth.

  As described in my Report, autocorrelation can appear in security returns due to the timing of

  news or random chance, but the relevant test is whether there is evidence of systematic

  autocorrelation that would suggest an arbitrage opportunity. To have an arbitrage opportunity

  one would expect the autocorrelation to have a consistent sign (i.e. it would have to either be

  positively autocorrelated so one could employ a strategy of buying when the price is up or

  negatively autocorrelated so that one could employ a strategy of buying when the price is

  down).60 As shown in Exhibit 17-C and Exhibit 17-D of my Report, and as Dr. Attari

  acknowledged61, the sign of the autocorrelation coefficient flips signs regularly, demonstrating

  there was no consistent arbitrage opportunity.

             F. DR. ATTARI’S SUGGESTION THAT OTHER FACTORS DO NOT
                SUPPORT A FINDING OF EFFICENCY FOR SERIES C AND SERIES D IS
                INCORRECT

             28.    Dr. Attari acknowledges the high average trading volume of Miller Energy

  Preferred Securities.62 Indeed, the average weekly trading volume for both Miller Energy

  Preferred Securities exceeded the threshold level of average weekly trading volume necessary for

  an efficient market as cited by the Cammer Court. To reiterate, and as shown by Exhibit 3-C and

  Exhibit 3-D of my Report, the average weekly turnover as a percentage of shares outstanding

  was 5.16% for Series C Preferred Stock and 7.93% for Series D Preferred Stock. These levels of



  59
       Attari Report ¶166.
  60
       “In a market with no auto correlation [sic], I would expect the sign to change.” Attari Deposition 93:8-10.
  61
       Attari Deposition 91:15-92:2.
  62
       Attari Report ¶69, ¶96.



                                                          22

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  average weekly trading volume easily surpass the one and two percent thresholds cited in

  Cammer and, thus, are indicative of efficient markets.63

             29.    Dr. Attari does not dispute that (1) analyst coverage cited in my report is relevant to

  the analysis of preferred stock64 or (2) analysts were following the financial reports of the

  company.65 Dr. Attari, however, overlooks that analyst recommendations and price targets for

  the Common Stock would be critical inputs into the valuation of Miller Energy Preferred

  Securities. More specifically, the price targets themselves suggest how large analysts believe the

  common equity cushion will be, their financial projections would be relevant to evaluating the

  ability to pay preferred dividends, and analysts specifically discussed Miller Energy Preferred

  Securities and commented upon the likelihood that the Company would continue to pay the

  preferred dividends, the Company’s debt, and the solvency of the Company, all of which had a

  direct bearing on investors in Miller Energy Preferred Securities.66 Dr. Attari’s suggestion that

  this Cammer factor is not met because the analysts did not issue a specific price target or

  recommendation for Miller Energy Preferred Securities has no justifiable economic basis.

  Indeed, Dr. Attari admits that he has “no academic research supporting [his] position that in

  order for an analyst report to be relevant to Cammer Factor 2, it must have a price target and a




  63
       Cammer, 711 F. Supp. at 1293 (citing Bromberg & Lowenfels).
  64
    Dr. Attari admits that most factors in analyst reports are relevant to holders of Series C and Series D preferred
  stock. (“Q: So you agree that the analyst reports, revenue projections, earnings projections, profitability and share
  price targets were relevant to preferred security holders? A. The share price targets have to do with the common. So
  they would not be relevant to the preferred stockholders directly. The rest of it would have some relevance, yes.”)
  Attari Deposition 31:21-32:5. See also Attari Deposition 141:24-142:1.
  65
       Attari Deposition 27:16-20.
  66
    “TURNING THE CORNER: Kitchen Sink of a Quarter Could Mark a Bottom, New Strategy in Place," MLV &
  Co. LLC, December 10, 2014., “LOWERING TARGET: Notices Raise Concerns, But Liquidity Appears Stable,
  Maintain Buy Rating,” MLV & Co. LLC, May 1, 2015., and “MILL releases unaudited fourth quarter and fiscal
  2015 results,” Noble Financial Capital Markets, July 30, 2015. See also Attari Deposition 31:21-32:24.



                                                       23

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  buy, hold or sell recommendation on it.”67 While the analyst reports may not have explicitly

  addressed every aspect of what preferred stockholders might care about, that does not mean their

  presence is irrelevant to market efficiency for Miller Energy Preferred Securities.

             30.    Dr. Attari’s suggestion that the market maker factor is not supported for Miller

  Energy Preferred Securities is simply incorrect. As described in my Report, the language from

  Cammer is:

                     For over the counter markets without volume reporting, the number of
                     market makers is probably the best single criterion. Ten market makers
                     for a security would justify a substantial presumption that the market for the
                     security is an efficient one; five market makers would justify a more modest
                     presumption.68

             31.    As stated in my Report, Miller Energy Preferred Securities traded on the NYSE and

  therefore did not trade in an “over the counter market without volume reporting.” In that

  circumstance, counting market makers is not even relevant. Notably, Dr. Attari admits that the

  NYSE operates differently than the over the counter market, and that it does not require market

  makers to create liquidity.69 He additionally acknowledges precedent that a security’s listing on

  the NYSE makes it likely to trade efficiently.70

             32.    Dr. Attari acknowledges Miller Energy was S-3 eligible from the initial offerings of

  both Miller Energy Preferred Securities until December 1, 2014.71 The fact that Miller Energy



  67
    Attari Deposition 175:6-12. (“Q. But you have no academic research supporting your position that in order for an
  analyst report to be relevant to Cammer Factor 2, it must have a price target and a buy, hold or sell recommendation
  on it; correct? A. Yes, correct.”)
  68
       Cammer, 711 F. Supp. at 1293 (citing Bromberg & Lowenfels).
  69
       Attari Deposition 61:13-22, 62:11-15.
  70
    Attari Deposition 115:22 – 116:3 (“Q: In the EGC case we were discussing earlier, you claimed that the courts
  recognize that securities that trade or listed on the New York Stock Exchange are likely to be efficient, didn’t you?
  A. Likely to be, yes.”)
  71
       Attari Report ¶192; Attari Deposition 118:23-119:12.



                                                        24

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  became ineligible to file a Form S-3 after it failed to timely file one of its Forms 10-K toward the

  end of the Analysis Period is not evidence of inefficiency of the market generally, and there is no

  reason to believe that moving from eligibility to ineligibility because of a late filing suddenly

  introduces market inefficiency when other factors point to continued efficiency during that

  period (like the volume and cause and effect among others).72

             33.    The purpose of analyzing a company’s market capitalization is not to see whether a

  particular security of a company is well capitalized, but to see whether the company as a whole is

  well-capitalized. Dr. Attari agrees that if the Krogman factor concerns the capitalization of the

  company (which the language of the Krogman court makes clear it does), analyzing the

  capitalization of Miller Energy Preferred Securities in isolation is incorrect.73 Nonetheless, Dr.

  Attari claims that the individual low market capitalization of Miller Energy Preferred Securities

  at the end of the Analysis Period is an indicator of inefficient markets.74 However, the low

  market capitalization witnessed late in the Analysis Period was driven by declines in prices, not

  the lack of capitalization generally. As such, Dr. Attari provides insufficient evidence that this

  factor is indicative of market inefficiency.

             34.    Dr. Attari does not dispute that the bid-ask spreads on the Series C and Series D

  Preferred Stock were low until the last eight months of the Analysis Period.75 However, he

  asserts that the high bid-ask spreads on the Series C and Series D Preferred Stock over the final




  72
     Dr. Attari is unaware of “any empirical support that a market becomes less efficient when it moves from S-3
  eligible to S-3 ineligible.” Attari Deposition 73:16-20.
  73
       Attari Deposition 77:6-13.
  74
       Attari Report ¶182.
  75
       Coffman Report §VII.H, Attari Report §VII.E.7, and Attari Deposition 78:21-79:5.



                                                       25

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  eight months of the Analysis Period are indicative of inefficient markets. 76 The increase in the

  bid-ask spreads of Miller Energy Preferred Securities were driven by declines in price, not

  because the markets generally became less efficient. As the prices of the Preferred Securities fell

  to low-levels, the bid-ask spreads as a percentage of the shares’ prices increased because price

  level is an important determinant of bid-ask spread.77 For example a bid-ask spread of $0.05 on a

  stock trading at $10 a share is a substantially smaller percentage spread than a $0.05 spread on a

  share trading at $1 a share.78

             35.    As I stated in my Report, “for all quarterly lists starting in the third calendar quarter

  of 2012 (when Series C Preferred Stock began trading) and ending at the end of the Analysis

  Period, the Preferred Securities were not labelled as Section 13F Securities, meaning institutions

  were not required to report their holdings of the Miller Energy Preferred Securities.”79,80 Data on

  the institutional ownership of Miller Energy Preferred Securities, therefore, is limited to only

  those institutions voluntarily electing to report their holdings of these shares. Reporting

  institutions that held Miller Energy Series C Preferred Stock included Brick Asset Management

  Inc, Crow Point Partners, LLC, Quadrant Capital Group, Spirit of America Management Corp,

  Scholtz & Co LLC, Swiss-Asia Financial Services Pte Ltd and Theme/Value Investments.81

  Reporting institutions that held Miller Energy Series D Preferred Stock included Wells Fargo


  76
       Attari Report ¶194.
  77
    Harris, Lawrence E., “Minimum Price Variations, Discrete Bid-Ask Spreads and Quotation Sizes,” The Review of
  Financial Studies, v.7 (1), Spring 1994, pp. 149-178.
  78
    “I’m aware of the academic literature that says that lower-priced securities have wider bid ask spreads
  proportionately.” Attari Deposition 79:13-20.
  79
       Coffman Report, footnote 34.
  80
    Dr. Attari also determined that institutional data was unavailable for the preferred securities. (Attari Deposition
  83:9-14.)
  81
       Data on institutional holdings obtained from Bloomberg using the HDS function.



                                                        26

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  and Co, Spirit of America Management Corp, Sun Life Financial Inc, and Teachers Insurance &

  Annuity of America. Dr. Attari concedes that “Institutional ownership is not an explicitly

  recognized factor like the Cammer Factors or the Krogman Factors.”82 Therefore, the limited

  data available on institutional holdings of Miller Energy Preferred Securities does not suggest

  market inefficiency. At worst, the limited amount of data on the institutional holdings of the

  Miller Energy Preferred Securities renders this factor agnostic regarding this efficiency factor.

             G. MY METHODOLOGY FOR EVALUATING MARKET EFFICIENCY FOR
                THE PREFERRED SECURITIES IS RELIABLE AND MY OPINIONS ARE
                UNIMPACTED BY ANY OF DR. ATTARI’S CRITICISMS


             36.    Dr. Attari identified three purported “errors” in my calculation of returns of the

  Preferred Securities that are part of my event study analysis. None of these purported “errors” are

  related to the general methodology I employed for analyzing market efficiency and none of them

  impact the ultimate conclusions or opinions that flow from that methodology (nor does Dr. Attari

  claim they do).


                             i.   THE USE OF DIVIDEND ADJUSTED RETURNS FOR THE
                                  PREFERRED SECURITIES


             37.    Dr. Attari claims that I should have computed returns for the Series C and Series D

  Preferred Securities in a manner that adjusts for the payment of dividends. As Dr. Attari notes,

  the label of the return series in my backup material (ret_MILL_PRC_div_adj and

  ret_MILL_PRD_div_adj) is consistent with my intent to compute dividend adjusted returns, not

  that I was unaware that such an adjustment was necessary. Adjusting for dividend payments is



  82
       Attari Report ¶183.



                                                   27

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  appropriate and was my intention.83 As noted by Dr. Attari, this error affects a small minority of

  returns (10 out of 706 for Series C and 6 out of 460 for Series D).

           38.    The incorporation of dividend adjusted returns for Preferred Series C and Preferred

  Series D does not impact the results or conclusions in any meaningful way (nor does Dr. Attari

  suggest it does). For the Series C Preferred Stock, as shown by Rebuttal Exhibit 4, the

  incorporation of dividend adjusted returns does not change the proportion of news days with

  significant returns, changes the average absolute abnormal return for those days by a negligible

  0.02% and does not affect the volume at all. Meanwhile, as Rebuttal Exhibit 5 illustrates, for

  the Series D Preferred Stock, there is no change whatsoever to the proportion of news days with

  significant returns, or the volume, and the average absolute abnormal return changes by 0.02%.

  The statistical tests of whether the news dates have a greater proportion of statistically significant

  returns and whether the average absolute returns are higher on news days relative to “no news”

  days remains statistically significant at far greater than the 99% confidence level, affirming my

  conclusion that the markets for Miller Energy Preferred Securities were efficient.

           39.    This criticism, thus, has no substantive influence either on my specific conclusion

  that there is evidence of a cause and effect relationship or my ultimate conclusion that Miller

  Energy Preferred Securities traded in efficient markets. It further does not suggest in any way

  that my analysis is unreliable.




  83
     In the process of handling the data, a member of my staff manually replaced the dividend-adjusted returns within
  a spreadsheet and failed to realize the manual calculations erroneously and inadvertently eliminated the dividend
  adjustment. I take responsibility for not catching this inadvertent, and ultimately inconsequential, calculation error.

                                                        28

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                                    11652
                             ii.    THE USE OF THE INTERCONTINENTAL EXCHANGE WTI
                                    LIGHT SWEET CRUDE OIL FUTURES INDEX


             40.    Dr. Attari claims that the index I used to control for changes in the price of oil was

  not the “NYMEX WTI Light Sweet Crude Oil Futures Index” but instead the “ICE WTI Light

  Sweet Crude Oil Futures Index.”84 As indicated by Dr. Attari, there is no substantive difference

  in the economic meaning or value of these indices.85 Both are meant to track the market price of

  the same underlying commodity – “West Texas Intermediate oil.”86 The indices are both

  constructed by referencing prices for short term futures contracts covering the same

  commodity.87 The NYMEX Oil Futures Index tracks futures prices from the New York

  Mercantile Exchange, while the ICE Oil Futures Index tracks futures contracts from the

  Intercontinental Exchange.88 As one would expect, since both of these indices are meant to

  generally track the same underlying commodity, the prices are highly consistent, as shown in the

  chart below. The correlation coefficient between the indices is over 97%.




  84
       Attari Report ¶34.
  85
       Attari Report ¶38.
  86
       Dr. Attari agrees on this point. (Attari Deposition 156:17-22.)
  87
       Attari Report ¶¶42-44.
  88
    https://www.cmegroup.com/trading/why-futures/welcome-to-nymex-wti-light-sweet-crude-oil-futures.html
  (accessed May 30, 2019) and https://www.theice.com/products/213/WTI-Crude-Futures (accessed May 30, 2019).

                                                          29

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                                    11653
          41.    Given that, it should come as no surprise that using the NYMEX index89 has no

  impact on my conclusions. More specifically, for the news days I analyze, the use of the

  NYMEX Oil Futures Index does not change the proportion of days that are significant, changes

  the average absolute return by 0.05% and 0.11% for the Series C Preferred Stock and Series D

  Preferred Stock respectively, and does not impact the average volume of shares traded. All of the

  comparisons against the “no news” days remain statistically significant at or above the 95%

  significance level. See Rebuttal Exhibit 6, and Rebuttal Exhibit 7, which show the differences

  for each of the Miller Energy Preferred Securities from the originally filed exhibits.90




  89
    I instructed my staff to download the NYMEX WTI Light Sweet Crude Oil Futures Index. A staff member
  incorrectly downloaded the data for the “ICL” ticker instead of the “CL” ticker, confusing one for the other.
  90
    The use of the NYMEX for Miller Energy Common Stock also has no impact on my conclusions. For the news
  days I analyze, the use of the NYMEX Oil Futures Index does not change the proportion of days that are significant,
  changes the average absolute return by 0.03%, and does not impact the average volume of shares traded. See
  Rebuttal Exhibit 1 for the differences for Miller Energy Common Stock from the originally filed exhibits.



                                                      30

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                                    11654
             42.    Moreover, setting aside the inconsequential difference in these indices, I

  demonstrated in my Report that my result was robust to another alternative index of oil

  companies, specifically, the Dow Jones US Exploration and Production Index.91 In other words,

  I never suggested that the NYMEX Index was the one and only possible choice of indices in the

  first place. Certainly, the ICE Index I used is also a valid control for oil prices, which was the

  overall intent of the analysis.

             43.    This criticism, thus, has no substantive influence either on my results or on my

  ultimate conclusion that Miller Energy Preferred Securities traded in efficient markets. It further

  does not suggest in any way that my analysis is unreliable.


                            iii.   THE COMPUTATION OF THE “OIL PRICE INDEX” RETURN


             44.    Dr. Attari argues that it was improper to rely on a third-party constructed price

  index to control for the price of oil because of the method by which the index was constructed.92

  He is wrong. Financial economists regularly use third-party price indices to control for market or

  industry factors without dissecting all of the construction techniques and evaluating if there are

  better ways to construct the series.93 The index I relied upon is a price index constructed by a



  91
       Initial Coffman Report, footnote 52 and Coffman Report, footnote 63.
  92
       Atttari Report ¶¶40-45.
  93
    As a case in point, Dr. Attari himself used a third-party produced control index in a prior report that did not
  incorporate dividend adjustments (See, Expert Report of Dr. Mukarram Attari, in Dalton Petrie, et al, v Electronic
  Game Card, Inc., et al, and Penny Pace, et al, v. Timothy Quintanilla, et al, No. 10‐0252 and 14‐2067, filed June 1,
  2015 (C.D. California).
  In that particular case, he controls for market factors by using the NASDAQ Composite Index, which is not a total
  return index that adjusts for dividends (See, Nasdaq Composite Index Methodology at
  https://indexes.nasdaqomx.com/docs/methodology_COMP.pdf (“The price return index in USD (Nasdaq: COMP) is
  ordinarily calculated without regard to cash dividends on Index Securities.”).
  In other words, he relied on a third-party index that commits the same purported error that he accuses me of
  committing. He did not scrutinize the construction of that index to evaluate if there were hypothetically better ways
  to construct it.

                                                        31

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                                    11655
  reputable third party that is intended to track the market price of WTI Oil. I used the price index

  as provided to control for the price of oil. Dr. Attari’s criticism of my approach is, at best, a

  matter of statistical judgment and does not reflect an error in my methodology.

           45.   Nevertheless, I demonstrate that even if I had undertaken the procedure suggested

  by Dr. Attari, my conclusion of a cause and effect relationship between new news and changes in

  the market price of Miller Energy Preferred Securities is not impacted. (see Rebuttal Exhibit 9

  and Rebuttal Exhibit 10). More specifically, for the news days I analyze, the use of the

  procedure suggested by Dr. Attari does not change the proportion of days that are significant and

  does not impact the average volume of shares traded.94 I analyzed both the raw returns I

  originally used and the dividend adjusted returns using Dr. Attari’s proposed methodology for

  both the Series C and Series D Preferred Stock. Rebuttal Exhibit 9 and Rebuttal Exhibit 10

  show that the use of Dr. Attari’s proposed method changes the average absolute return by an

  inconsequential 0.01% and 0.10%, respectively, when analyzing the dividend adjusted returns

  for Miller Energy Series C and Series D Preferred Stock.95 All of the comparisons against the

  “no news” days remain statistically significant at or above the 95% significance level for the

  Miller Energy Preferred Securities. My conclusion that there is scientific evidence of a cause and

  effect relationship is not sensitive to my use of the WTI Oil index with or without the alterations

  to the index suggested by Dr. Attari.

           46.   In summary, the methodology I employed in my Report is reliable, and is consistent

  with the same methodology I have employed in dozens of other reports in which a class has been


  94
    As illustrated by Rebuttal Exhibit 8, the use of Dr. Attari’s procedure changes the average absolute return by an
  inconsequential 0.02% on the earnings days that I analyzed for Miller Energy Common Stock. This does not change
  my conclusions about the market efficiency of Miller Energy Common Stock.
  95
    Additionally, Rebuttal Exhibits 9 and 10 illustrate that even when analyzing the raw returns for the Miller Energy
  Securities, the average absolute abnormal return changes by 0.02% for Miller Energy Series C Preferred Stock and
  by 0.10% for Miller Energy Series D Preferred Stock.

                                                      32

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  certified. I have further demonstrated that correcting the purported data errors identified by Dr.

  Attari does not influence the outcome of any of my analyses. In fact, I have demonstrated that

  my conclusions are robust to those changes and Dr. Attari’s additional criticisms (with which I

  disagree).

   IV.      DR. ATTARI INCORRECTLY ASSERTS THAT NEITHER SECTION 10(b)
            NOR SECTION 11 DAMAGES CAN BE CALCULATED ON A CLASS-WIDE
            BASIS

           A. DR. ATTARI’S CLAIM THAT SECTION 10(b) DAMAGES CANNOT BE
              CALCULATED ON A CLASS-WIDE BASIS RELIES ENTIRELY ON A
              MISREPRESENTATION OF PLAINTIFFS’ PROPOSED DAMAGES MODEL


           47.    Plaintiffs are pursuing the standard “out of pocket” measure of damages in this

  case. Under this methodology, damages are formulaically calculated as the artificial inflation per

  share at the time of purchase less the artificial inflation at the time of sale (or, if the share is not

  sold before full revelation of the fraud, the artificial inflation at the time of purchase, subject to

  the Private Securities Litigation Reform Act of 1995’s “90-day lookback” provision, a formulaic

  limit on damages that also can be applied class-wide).96 This methodology is regularly accepted

  by courts in securities fraud class actions similar to this one. Dr. Attari does not suggest that this

  methodology is inappropriate. Under this methodology, there is no need to separate investors

  between the “low risk” and “high risk” investors he identifies.97 As is standard, the out of pocket



  96
    Specifically, the Private Securities Litigation Reform Act of 1995 states: “…in any private action arising under
  this title in which the plaintiff seeks to establish damages by reference to the market price of a security, the award of
  damages to the plaintiff shall not exceed the difference between the purchase or sale price paid or received, as
  appropriate, by the plaintiff for the subject security and the mean trading price of that security during the 90-day
  period beginning on the date on which the information correcting the misstatement or omission that is the basis for
  the action is disseminated to the market.” See, Private Securities Litigation Reform Act of 1995, dated December 22,
  1995, 737, 748-49.
  97
     Dr. Attari admits that this understanding comes “from discussions with counsel and from a review of an opinion
  in, I think, the BP case.” Dr. Attari admits that if this understanding is incorrect (which it is), then “all investors are
  treated the same” and his opinions would no longer apply. Attari Deposition 99:5 – 100:16.

                                                          33

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  methodology assumes investors would have still purchased the relevant security at the time they

  did. But it assumes the transaction would have occurred at a different price had the full truth

  been disclosed.

             48.    While Dr. Attari claims it is inappropriate to take the full decline on all of the

  corrective disclosures and assume that investors can recover that full amount regardless of when

  they purchased and what the facts would establish about how much of the artificial inflation was

  present at the time of purchase,98 I never suggested in my Report or deposition that artificial

  inflation would be quantified in that manner. Instead, Dr. Attari ignores what is stated in my

  Report and deposition and draws what appears to be a legal inference from the use of a particular

  phrase in the Complaint that Plaintiffs are seeking something other than the standard out of

  pocket damages.

             49.    Defendant suggests that use of the phrase “materialization of the risk” in the

  Complaint implies that I am supporting a method (or Plaintiffs are requesting a method) that

  deviates from the “out of pocket” methodology identified in my Report. Defendants cite to my

  testimony in Ludlow v BP, L.P.C., as purported evidence that my methodology for calculating

  Section 10(b) damages is unreliable.99 However, the nature of the claims in the “pre-spill class”

  in the Ludlow matter were fundamentally different as a matter of economics than the claims at

  issue in this case.100 Further, in the Ludlow case, I explicitly acknowledged I was deviating from




  98
       Attari Report ¶207.
   KPMG LLP’S Memorandum of Law in Support of its Motion to Exclude the Reports and Testimony of Chad
  99

  Coffman, filed May 21, 2019 No. 3:16-cv-00121-TAV-DCP (E.D. Tennessee) §1. B.
  100
      The pre-spill subclass sought to recover consequential damages related to the post-spill stock price decline. In so
  doing, the pre-spill subclass “expressly eschew[ed]” the traditional out-of-pocket damages calculation method
  advanced by Plaintiffs in typical securities litigation. See Memorandum and Order filed May 20, 2014, in re: BP
  p.l.c Securities Litigation, MDL No: 10-md-2185, Civil Action No. 4:10-md-2185 (S.D. Texas).



                                                        34

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  the standard methods for quantifying artificial inflation based on the legal theory being put

  forward by plaintiffs’ counsel there. That case also had a “post-spill class” for which the

  standard out of pocket method was employed. That subclass was certified.101

             50.    My articulation of the standard out of pocket damages formula is ubiquitous in class

  action securities litigation and has been deemed proper and sufficient by numerous courts

  considering class certification in this context.102

             B. PROVING TRACEABILITY IS NOT REQUIRED TO DEMONSTRATE
                DAMAGES FOR THE SECTION 11 CLASS


             51.    Dr. Attari conflates the issue of whether any particular investor can establish

  traceability based upon submitting a claim in this matter versus whether damages can be

  calculated subject to a common methodology. Further, Dr. Attari does not dispute the statutory

  damages formula articulated in my Report (and reiterated it in his own report) for those that can

  establish traceability. Indeed, Dr. Attari readily computed statutory damages for Mr. Ziesman

  assuming he could prove traceability to either of the relevant offerings.103 Moreover, his

  conclusion is predicated on “without knowing which issuance the shares that they purchased

  came from.”104 Thus, there is no relevant dispute about whether damages can be computed

  conditional upon an investor demonstrating traceability.

             52.    I understand traceability is established through the submission of claims. Those

  investors that can prove they purchased shares directly in the offering can establish traceability.


  101
     See Memorandum and Order filed May 20, 2014, in re: BP p.l.c Securities Litigation, MDL No: 10-md-2185,
  Civil Action No. 4:10-md-2185 (S.D. Texas).
  102
     Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D. Tennessee); Hatamian v. Advanced
  Micro Devices, Inc., No. 4:14-cv-00226 (N.D. Cal.); Laborers Pension Trust Fund – Detroit, vs. Conn’s, Inc., 4:14-
  cv-00548 (S.D. Tex.); and Leon D. Milbeck v. TrueCar Inc, No. 2:18-cv-02612 (C.D. Cal.), to name but a few.
  103
        Attari Report ¶85.
  104
        Attari Report ¶¶86 and 111.

                                                      35

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  This could be shown through underwriter records or investor records that are consistent with

  direct purchases from an underwriter at the offering prices. Whether any after-market purchasers

  can establish traceability is unknown. To simply conclude they cannot is unnecessarily

  speculating about what evidence class members might be able to present regarding traceability.

  As acknowledged by Dr. Attari, his statement that after-market purchasers “cannot” trace their

  shares to an offering is speculative.105 It is not at all clear what evidence might exist that could

  establish traceability, but it is presumptuous to claim it cannot exist. Dr. Attari himself provides

  one possibility106, and I see no economic reason (and Dr. Attari certainly does not provide one)

  to pro-actively exclude all after-market purchasers from the putative class when there are

  circumstances where such individuals could be class-members.107

             53.    Additionally, Dr. Attari incorrectly claims that it is impossible to establish

  traceability for Series C and Series D Preferred Stock because the issued and outstanding shares

  of these securities were held in book-entry form at the Depository Trust Company.108 Dr. Attari

  correctly notes that the Depository Trust Company was established in 1973 and makes “book-

  entry” changes to ownership of the securities.109 Dr. Attari acknowledges that the “overwhelming

  majority of investors in U.S.-based market do not have shares certificates, but instead hold their

  shares in book entry form in the DTC.”110 In spite of this, Dr. Attari maintains his claim that no




  105
        Attari Report ¶¶80-81, 107.
  106
        Attari Report ¶80.
  107
        Attari Report ¶79.
  108
        Attari Report ¶¶64-67, 95.
  109
      DTCC, “The Depository Trust Company (DTC), “http://www.dtcc.com/about/businesses-and-subsidiaries/dtc”
  (accessed on June 7, 2019).
  110
      Attari Deposition 111:4-9.



                                                    36

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                                    11660
  after-market purchasers can trace their shares to an offering in virtually all Section 11 cases. 111

  However, Dr. Attari fails to mention that Section 11 cases including aftermarket purchasers have

  been filed and routinely certified subsequent to the founding of the Depository Trust Company. I

  do not see a way to reconcile Dr. Attari’s position with the presence of these certified cases.

           54.   Further, assessing damages is separate from assessing traceability. The definition of

  the Section 11 Class clearly separates traceability from damages.112 My report predicates the

  calculation of damages upon the establishment of traceability.113 114 Whether or not a putative

  class member that can prove traceability is damaged under the statute is ascertainable with

  trading records. This is no different than for any investor in a garden variety securities case

  where putative class members must establish they are in the class and damaged through the

  claims process.

           55.   In the typical expert report at the merits phase of litigation, plaintiffs ask the finder

  of fact to establish the inflation per share in the security. Then, post-verdict, trading records are

  submitted to establish whether the investor is in the class and the damages are calculated

  formulaically based upon the out of pocket method using the quantification of the inflation per




  111
     “Q. You state [in the Attari Report], ‘after-market purchasers, those who purchase their shares in open-market
  trading, not directly in one of the public offerings, cannot trace their shares to these offerings’…that is true for
  virtually any after-market purchaser bringing a Section 11 claim, not just investors in Miller Energy’s Series C and
  Series D; correct? A. That is true for any investor trading in the secondary market.” Attari Deposition 112:11 –
  113:7.
  112
      Complaint ¶33. Plaintiffs define the Class as “All those who purchased Miller Energy preferred shares pursuant
  to or traceable to the Offering Documents (the ‘Section 11 Class’).”

  113
      Coffman Report ¶101. “Section 11 damages can be calculated for the members of the Section 11 Class, all those
  who purchased Miller Energy Series C Preferred Stock and Miller Energy Series D Preferred Stock ‘pursuant to or
  traceable to the Offering Documents’ issued during the Class Period.”
  114
      Dr. Attari himself acknowledges that damages could be computed given basic trade details. “If you had their
  purchase and sale information, you could compute the damages to that investor for people who purchase in the
  offering.” Attari Deposition 110:1-4.



                                                       37

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                                    11661
  share during the Class Period. The same is true for the Section 11 Class, with the only difference

  being that membership in the class also depends on traceability. For those that can establish

  traceability through the claims process, damages are calculable formulaically under the statute

  (as indicated by Dr. Attari and consistent with a prior Order in the Gaynor matter).115

   V.          I PROVIDED STRONG SCIENTIFIC STATISTICAL EVIDENCE THAT THE
               ALLEGED MISSTATEMENTS IMPACTED THE PRICE OF MILLER
               ENERGY SECURITIES

             56.    I understand the Defendant has the burden to establish lack of price impact. To

  establish lack of price impact, Dr. Attari must show a lack of price impact on both the front end

  and back end. He does not even try to establish lack of price impact upon corrective disclosures,

  whereas I show below that there are significant declines on at least some of alleged corrective

  disclosures. Dr. Attari provides no opinion regarding negative causation116 and did not analyze

  all of the alleged corrective disclosures.117 Additionally, he acknowledges there was price

  increase with KPMG’s first alleged false statements, but offers no opinion regarding whether

  those statements contributed to the price increase.

             57.    Dr. Attari’s only opinion is that I do not provide sufficient evidence to prove there

  was a positive price impact at the time of KPMG’s alleged first false statement.118 However, Dr.

  Attari’s opinion is based upon a fundamentally flawed analysis of the events leading up to the

  August 29, 2011, release of Miller Energy’s final audited version of the Form 10-K/A with

  KPMG’s first audit opinion. Indeed, there is strong economic evidence of price impact for this

  event.


  115
        Attari Report ¶83. See Gaynor v. Miller, No. 15-cv-545, 2018 WL 3751606 (E.D. Tenn. Aug. 6, 2018).
  116
        Attari Deposition 114:7-10.
  117
        Attari Deposition 170:3-16.
  118
        Attari Report § IX.

                                                       38

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                                    11662
             58.    Dr. Attari and I both find that there is a statistically significant price reaction to the

  release of Miller Energy’s final audited version of the Form 10-K/A with KPMG’s audit opinion

  on August 29, 2011, and he does not and cannot definitively rule out that it reflected the impact

  of the alleged fraud.119 Dr. Attari has suggested that the loan agreement with Guggenheim

  Corporate Funding may have caused some of the stock price increase on August 29, 2011.120

  However, an analyst cut his price target for Miller Energy Common Stock as a result of the

  amended loan agreement, indicating that this news was interpreted negatively by investors. 121 Dr.

  Attari confirmed this negative interpretation at his deposition and offers no rationale for how or

  why this information would lead to an increase in price.122

             59.    Furthermore, Dr. Attari’s reference to the results of the internal investigation as a

  reason for the price increase are (1) directly related to the allegedly false audit report and (2) not

  even mentioned by analysts as relevant new information. As a result, this information is either

  irrelevant to price impact or inseparable from the underlying accounting conduct. The release of

  the KPMG audit report resolved the questions surrounding whether Miller Energy would be able

  to publish a Form 10-K consistent with its prior accounting with the blessing of an auditor.

             60.    The market viewed the filing of KPMG’s audit report as a critical, positive

  development.123 The market price of Miller Energy climbed by over 50% on a single day.




  119
      Attari Report ¶ 217 (“The events leading up to the August 29, 2011 10-K filing make it difficult, if not
  impossible, to conclude that KPMG’s alleged false audit opinion caused inflation in the common
  stock on that date.”)
  120
        Attari Report ¶217. d.
    “Miller Energy Resources: Slightly Lower On Higher Payments, Timing of Production Key,” SunTrust Robinson
  121

  Humphrey, August 30, 2011.
  122
        Attari Deposition 160:19-161:17, 163:4-164:4.
  123
        Coffman Report ¶¶vi -xiii.



                                                        39

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                                    11663
  Indeed, my event study indicates that the market price of Miller Energy Common Stock

  increased by 57.85%, after controlling for market and industry effects and that this abnormal

  price increase is statistically significant at the 99% confidence level with a t-statistic of 13.96.124

  Dr. Attari notes that the market price of Miller Common Stock increased (before controlling for

  market factors) by 60.8% on August 29, 2011.125 It is highly unlikely that this marked price

  increase would have been possible had Miller Energy been unable to publish a Form 10-K

  without KPMG’s imprimatur.

             61.    With respect to additional audit opinions issued later in the Class Period, as a matter

  of economic theory, it is unsurprising that there is no observable stock price increase. Going

  forward, it would be reasonable for the market to expect KPMG to continue to sign off on Miller

  Energy’s valuation of the Alaska Assets as compliant with GAAP since it had already done so.

  Therefore, such statements would maintain, rather than increase, any artificial inflation because

  KPMG’s further audit opinions would not have been unexpected.

             62.    Additionally, Dr. Attari fails to acknowledge that there were statistically significant

  stock price declines on alleged corrective disclosures. For example, the alleged corrective

  disclosure on December 24, 2013 saw statistically significant negative abnormal returns for both

  Miller Energy Preferred Securities. On this day, a report entitled ‘Miller Energy: Digging Itself

  Into Another Deep Hole?’ was published by TheStreetSweeper and described that Miller Energy

  was facing serious debt and financing issues.126

             63.    Following the filing of the Form 8-K with the Securities and Exchange Commission

  and subsequent press release on July 14, 2014, an investor call held after trading hours on July


  124
        Coffman Report ¶xii.
  125
        Attari Report ¶217. d.
  126
        Complaint ¶200.

                                                    40

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                                    11664
  15, 2014, likely also contributed to the decline in Miller Energy Common Stock. During that

  call, CFO John Brawley acknowledged that costs and expenses were high, including DD&A

  expenses, and acknowledged that poor net income and earnings per share numbers were items

  that “a number of our shareholders focus on.” Brawley also acknowledged that Miller Energy’s

  internal controls were still deficient but touted the hiring of “a junior accountant with big four

  accounting experience” as a reason for investors to be optimistic.127

             64.    Further, on October 13, 2014, after trading hours, Reuters reported that Brean

  Capital, a firm whose analyst had been following Miller Energy closely, cut its price target of

  Miller Energy from $9 to $7.128 This led to a statistically significant decline in the price of Miller

  Energy Securities. On both of these days, information was publicly released that cast doubt on

  KPMG’s valuation and audit of Miller Energy assets.

             65.    Miller Energy Common Stock experienced a statistically significant negative

  abnormal return on the December 1, 2014 alleged corrective disclosure, and Miller Energy

  Preferred Series C Stock experienced a negative statistically significant abnormal return on the

  December 5, 2014 alleged corrective disclosure.129 Both of these alleged corrective disclosures

  stemmed from analysts reducing their price targets for Miller Energy Common Stock.

             66.    On April 29, 2015, after market hours, Miller Energy filed a Form 8-K, attaching a

  press release in which it announced that it had received a “Wells Notice” from the SEC

  indicating that the agency staff had made a preliminary determination to recommend civil action

  against the Company related to its accounting for its Alaska Assets, in addition to a continued



  127
        “Glacier Oil & Gas Corp. FQ4 2014 Earnings Call Transcripts” S&P Capital IQ. 15 July 2014.
  128
        Complaint ¶214.
  129
        Complaint ¶¶216-217.



                                                       41

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                                    11665
  listing notice from the NYSE.130 All three Miller Energy Securities experienced statistically

  significant price declines on this day.

             67.   On May 6, 2015, Miller Energy announced it was deferring dividend payments on

  its Series C and D Preferred Stock.131 On this day the Miller Energy Preferred Securities

  experienced statistically significant price declines.

             68.   Miller Energy released a Going Concern Warning on July 14, 2015 and

  subsequently had its securities delisted on July 31, 2015.132 Both of these events precipitated

  statistically significant declines in the Miller Energy Securities.

             69.   While I understand that any impact from these corrective disclosures could be

  confounded by other information released on those days, Dr. Attari has not scientifically

  established that the alleged corrective information did not have any impact on the price of the

  Miller Energy Securities on these alleged corrective disclosures. Dr. Attari does not even

  address any of the alleged corrective disclosures or their impact on the Miller Energy Securities

  in his report.




  130
        “Press Release: Miller Energy Provides Details Concerning Recent Events Including Receipt of NYSE
  Continued Listing Notice,” Dow Jones Newswires, April 29, 2015.
    “Press Release: Miller Energy Defers Cash Dividends on Its Series C and Series D Preferred Stock,” Dow Jones
  131

  Newswires, May 6, 2015.
  132
        Complaint ¶¶ 226-227.

                                                      42

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                                    11666
         70.   I declare under penalty of perjury under the laws of the United States of America

  that the foregoing is true and correct.




         Executed on June 14, 2019




                                             43

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                                  #: 11667
                                              Rebuttal Exhibit 1
 Dr. Attari's Criticism That I Used the ICE WTI Oil Futures Index Rather Than The NYMEX WTI Oil Futures
          Index Does Not Impact My Finding of Market Efficiency for Miller Energy Common Stock

                                                                                                                              Analysis Addressing Dr. Attari's
                            Analysis Performed in Coffman Report
                                                                                                                                        Criticism

                                                                                                                                                      Days with No News,
                                                 Earnings                        Days with No News,                            Earnings               Analyst Reports, or
               Statistic                      Announcements                  Analyst Reports, or SEC Filings                Announcements                SEC Filings

                  N                                    17                                    316 (1)                                 17                         316 (2)


     Significant Days at 95%
                                                        3                                      14                                     3                           12
        Confidence Level

    % Significant Days at 95%
                                                   17.65% (3)                                4.43%                              17.65%        (4)
                                                                                                                                                                3.80%
        Confidence Level

         Average Absolute
                                                    4.16% (5)                                2.52%                               4.19% (6)                      2.52%
         Abnormal Return


   Average Volume (Millions)                         0.71 (7)                                  0.3                                 0.71 (8)                      0.3

Notes:
(1) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 316 days with no news. Days with no news were
days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded
in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 316 days with no news. Days with no news were
days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded
in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 17.65% rate of statistical significance is statistically significantly different than 4.43% at the 95% confidence level.
(4) 17.65% rate of statistical significance is statistically significantly different than 3.80% at the 95% confidence level.
(5) 4.16% absolute return is statistically significantly different than 2.52% based on a t-test for difference of means at the 95% confidence level.
(6) 4.19% absolute return is statistically significantly different than 2.52% based on a t-test for difference of means at the 95% confidence level.
(7) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.
(8) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.




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                                                   #: 11668
                                                Rebuttal Exhibit 2
  Dr. Attari's Criticism That I Compare Material Announcement Dates Against No News Dates Over a Different
                         Time Period Does Not Impact My Finding of Market Efficiency for
                                   Miller Energy Series C 10.75% Preferred Stock
                                                                                                                         Analysis Addressing Dr. Attari's
                           Analysis Performed in Coffman Report                                                                    Criticism
                   No News Dates Analyzed From October 8, 2012 to July 31, 2015                                         No News Dates Analyzed From October 15,
                                                                                                                                 2014 to July 31, 2015

                                                                                                                                                  Days with No News,
                                                Material                        Days with No News,                         Material              Analyst Reports, or SEC
              Statistic                      Announcements                 Analyst Reports, or SEC Filings              Announcements                    Filings


                  N                                    9                                   192 (1)                               9                            56(2)


     Significant Days at 95%
                                                       5                                     9                                   5                             1
        Confidence Level

    % Significant Days at 95%
                                                  55.56% (3)                               4.69%                             55.56%(4)                      1.79%
        Confidence Level

        Average Absolute
                                                  27.34%(4)                                1.28%                             27.34%(4)                      3.04%
       Abnormal Return (4)


   Average Volume (Millions)                        0.08 (7)                                0.02                              0.08 (8)                        0.02


Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC
filings were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the period of 10/15/2014 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 56 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC
filings were issued.
(3) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 1.79% at the 99% confidence level.
(5) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(6) 27.34% absolute return is statistically significantly different than 3.04% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.



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                                                #: 11669
                                                 Rebuttal Exhibit 3
 Dr. Attari's Criticism That I Compare Material Announcement Dates Against No News Dates Over a Different Time
                           Period Does Not Impact On My Finding of Market Efficiency for
                                    Miller Energy Series D 10.5% Preferred Stock

                                                                                                                           Analysis Addressing Dr. Attari's
                            Analysis Performed In Coffman Report                                                                     Criticism
                     No News Days Analyzed From October 1, 2013 to July 31, 2015                                       No News Days Analyzed From October 15, 2014
                                                                                                                                     to July 31, 2015
                                                                                                                                              Days with No News,
                                               Material                         Days with No News,                         Material         Analyst Reports, or SEC
              Statistic                     Announcements                  Analyst Reports, or SEC Filings              Announcements                Filings


                 N                                   9                                     118(1)                                  9                            56 (2)


    Significant Days at 95%
                                                     5                                        4                                    5                              3
       Confidence Level

   % Significant Days at 95%
                                                 55.56%(3)                                 3.39%                              55.56%(4)                        5.36%
       Confidence Level

        Average Absolute
                                                 22.92%(5)                                 2.09%                              22.92%(6)                        3.74%
        Abnormal Return


  Average Volume (Millions)                       0.13 (7)                                  0.02                                0.13   (8)
                                                                                                                                                                0.03


Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC
filings were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the period of 10/15/2014 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes
of this analysis, I selected the 56 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were
issued.
(3) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 5.36% at the 99% confidence level.
(5) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(6) 22.92% absolute return is statistically significantly different than 3.74% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.13 million and 0.03 million is statistically significant at the 99% confidence level.




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                                                 #: 11670
                                                       Rebuttal Exhibit 4
 Dr. Attari's Criticism That I Used Raw Returns Versus Dividend Adjusted Returns Does Not Impact My Finding of Market
                                 Efficiency For Miller Energy Series C 10.75% Preferred Stock


                                                                                                                                   Analysis Addressing Dr. Attari's Criticism
                              Analysis Performed in the Coffman Report                                                             Regarding the use of Dividend Adjusted
                                                                                                                                                   Returns
                                                                                                                                                                      Days with No News,
                                                      Material                           Days with No News,                               Material                   Analyst Reports, or SEC
                 Statistic                         Announcements                     Analyst Reports, or SEC Filings                   Announcements                         Filings

                                                                                                            (1)                                                                        (2)
                    N                                        9                                       192                                        9                               192


Significant Days at 95% Confidence
                                                             5                                          9                                       5                                  9
               Level

      % Significant Days at 95%
                                                        55.56%(3)                                    4.69%                                  55.56%(4)                           4.69%
          Confidence Level

          Average Absolute
                                                        27.34% (5)                                   1.28%                                 27.36% (6)                           1.29%
          Abnormal Return


                                                                 (7)                                                                                (8)
     Average Volume (Millions)                            0.08                                         0.02                                  0.08                                0.02

Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this
analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates
with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
2) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this
analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates
with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(5) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(6) 27.36% absolute return is statistically significantly different than 1.29% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.




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                                                          #: 11671
                                                      Rebuttal Exhibit 5
Dr. Attari's Criticism That I Used Raw Returns Versus Dividend Adjusted Returns Does Not Impact My Finding of Market
                                 Efficiency For Miller Energy Series D 10.5% Preferred Stock
                                                                                                                                      Analysis Addressing Dr. Attari's
                              Analysis Performed in the Coffman Report                                                            Criticism Regarding the use of Dividend
                                                                                                                                             Adjusted Returns
                                                                                                                                                                   Days with No News,
                                                      Material                          Days with No News,                               Material                 Analyst Reports, or SEC
                Statistic                          Announcements                    Analyst Reports, or SEC Filings                   Announcements                       Filings

                    N                                        9                                       118 (1)                                   9                              118 (2)


Significant Days at 95% Confidence
                                                             5                                          4                                      5                                 6
               Level

     % Significant Days at 95%
                                                        55.56% (3)                                   3.39%                                 55.56%(4)                          5.08%
         Confidence Level

          Average Absolute
                                                        22.92% (5)                                   2.09%                                22.94% (6)                          2.07%
          Abnormal Return


     Average Volume (Millions)                           0.13 (7)                                     0.02                                  0.13 (8)                           0.02

Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other
dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other
dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 5.08% at the 99% confidence level.
(5) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(6) 22.94% absolute return is statistically significantly different than 2.07% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.



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                                                           #: 11672
                                            Rebuttal Exhibit 6
  Dr. Attari's Criticism That I Used the ICE WTI Oil Futures Index Rather Than The NYMEX WTI Oil
                   Futures Index Does Not Impact My Finding of Market Efficiency for
                              Miller Energy Series C 10.75% Preferred Stock
                                                                                                                               Analysis Addressing Dr. Attari's
                                                                                                                             Criticism Using Dividend Adjusted
                            Analysis Performed In Coffman Report
                                                                                                                             Returns & NYMEX CL Futures Index
                                                                                                                                           Returns
                                                                                                                                                          Days with No News,
                                                 Material                       Days with No News,                              Material                 Analyst Reports, or SEC
              Statistic                       Announcements                 Analyst Reports, or SEC Filings                  Announcements                       Filings

                 N (1)                                   9                                    192 (1)                                  9                              192 (2)


    Significant Days at 95%
                                                         5                                       9                                     5                                 9
       Confidence Level

  % Significant Days at 95%
                                                   55.56% (3)                                 4.69%                              55.56%     (4)
                                                                                                                                                                      4.69%
      Confidence Level

        Average Absolute
                                                   27.34% (5)                                 1.28%                              27.29%        (6)
                                                                                                                                                                      1.27%
        Abnormal Return

        Average Volume
                                                     0.08 (7)                                  0.02                                 0.08 (8)                           0.02
           (Millions)

Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings
were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the
purposes of this analysis, I selected the 192 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings
were issued. Two other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(5) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(6) 27.29% absolute return is statistically significantly different than 1.27% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.




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                                                    Rebuttal Exhibit 7
  Dr. Attari's Criticism That I Used the ICE WTI Oil Futures Index Rather Than The NYMEX CL Oil Futures Index Does
               Not Impact My Finding of Market Efficiency for Miller Energy Series D 10.5% Preferred Stock

                                                                                                                     Analysis Addressing Dr. Attari's Criticism
                          Analysis Performed In Coffman Report                                                      Using Dividend Adjusted Returns & NYMEX
                                                                                                                             CL Futures Index Returns


                                                Material                      Days with No News,                           Material                      Days with No News,
              Statistic                      Announcements                Analyst Reports, or SEC Filings               Announcements                Analyst Reports, or SEC Filings

                  N                                    9                                  118 (1)                                 9                                  118 (2)


     Significant Days at 95%
                                                       5                                     4                                    5                                     5
        Confidence Level

    % Significant Days at 95%
                                                  55.56% (3)                              3.39%                              55.56% (4)                              4.24%
        Confidence Level

         Average Absolute                                  (5)                                                                          (6)
                                                  22.92%                                  2.09%                              22.81%                                  2.11%
         Abnormal Return


                                                    0.13 (7)
                                                                                                                                      (8)
   Average Volume (Millions)                                                               0.02                                0.13                                   0.02


Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two
other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of
this analysis, I selected the 118 days with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two
other dates with corrective information that were not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.24% at the 99% confidence level.
(5) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(6) 22.81% absolute return is statistically significantly different than 2.11% based on a t-test for difference of means at the 99% confidence level.
(7) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(8) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.




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                                               Rebuttal Exhibit 8
   Dr. Attari's Criticism That I Incorrectly Computed the Returns of The ICE WTI Oil Futures Index Does
                Not Impact My Finding of Market Efficiency for Miller Energy Common Stock


                                                                                                        Analysis Addressing Dr. Attari's Criticism Using
                        Analysis Performed in Coffman Report                                              Dr. Attari's Calculations of the ICE WTI Oil
                                                                                                                         Futures Returns
                                                                            Days with No News,
                                                  Earnings                  Analyst Reports, or               Earnings                  Days with No News,
               Statistic                       Announcements                   SEC Filings                 Announcements            Analyst Reports, or SEC Filings


                   N                                    17                           316 (1)                        17                              314 (2)


    Significant Days at 95%
                                                        3                              14                           3                                 13
       Confidence Level

  % Significant Days at 95%
                                                   17.65% (3)                        4.43%                     17.65% (4)                           4.14%
      Confidence Level

        Average Absolute
                                                    4.16% (5)                        2.52%                      4.14% (6)                           2.51%
        Abnormal Return


 Average Volume (Millions)                           0.71 (7)                          0.3                       0.71 (8)                             0.3

Notes:
(1) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 316 days with no news. Days with no news
were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not
recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I selected the 314 days with no news. Days with no news
were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not
recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) 17.65% rate of statistical significance is statistically significantly different than 4.43% at the 95% confidence level.
(4) 17.65% rate of statistical significance is statistically significantly different than 4.14% at the 95% confidence level.
(5) 4.14% absolute return is statistically significantly different than 2.52% based on a t-test for difference of means at the 95% confidence level.
(6) 4.16% absolute return is statistically significantly different than 2.51% based on a t-test for difference of means at the 95% confidence level.
(7) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.
(8) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.




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                                                                  Rebuttal Exhibit 9
 Dr. Attari's Criticism That I Incorrectly Computed the Returns of The ICE WTI Oil Futures Index Does Not Impact My Finding of Market Efficiency
                                                  for Miller Energy Series C 10.75% Preferred Stock
                                                                                                                             Analysis Addressing Dr. Attari's                       Analysis Addressing Dr. Attari's
                                                                                                                            Criticism Using Raw Returns & Dr.                      Criticism Using Dividend Adjusted
                            Analysis Performed in Coffman Report
                                                                                                                            Attari's Calculated WTI ICL Futures                   Returns & Dr. Attari's Calculated WTI
                                                                                                                                        Index Returns                                   ICL Futures Index Returns

                                                                                                                                                     Days with No News,                                     Days with No News,
                                                  Material                       Days with No News,                            Material              Analyst Reports, or              Material              Analyst Reports, or
               Statistic                       Announcements                 Analyst Reports, or SEC Filings                Announcements               SEC Filings                Announcements               SEC Filings


                 N (1)                                  9                                     192 (1)                                 9                        192 (2)                      9                        192 (3)


     Significant Days at 95%
                                                        5                                       9                                     5                           9                         5                           9
        Confidence Level

    % Significant Days at 95%
                                                   55.56% (4)                                 4.69%                             55.56% (5)                     4.69%                   55.56% (6)                    4.69%
        Confidence Level

         Average Absolute
                                                    27.34%(7)                                 1.28%                             27.32% (8)                     1.25%                   27.33% (9)                    1.26%
         Abnormal Return


   Average Volume (Millions)                         0.08 (10)                                 0.02                               0.08 (11)                     0.02                     0.08 (12)                    0.02


Notes:
(1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 192 days
with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial
report (12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for (7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 192 days
with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial
report (12/24/2013 and 10/14/2014), have been added as news dates.
(3) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 192 days
with no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial
report (12/24/2013 and 10/14/2014), have been added as news dates.
(4) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(5) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(6) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
(7) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means at the 99% confidence level.
(8) 27.32% absolute return is statistically significantly different than 1.25% based on a t-test for difference of means at the 99% confidence level.
(9) 27.33% absolute return is statistically significantly different than 1.26% based on a t-test for difference of means at the 99% confidence level.
(10) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(11) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.
(12) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.




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                                                                 Rebuttal Exhibit 10
 Dr. Attari's Criticism That I Incorrectly Computed the Returns of The ICE WTI Oil Futures Index Does Not Impact My Finding of Market Efficiency
                                                   for Miller Energy Series D 10.5% Preferred Stock
                                                                                                                            Analysis Addressing Dr. Attari's                        Analysis Addressing Dr. Attari's
                                                                                                                           Criticism Using Raw Returns & Dr.                       Criticism Using Dividend Adjusted
                            Analysis Performed in Coffman Report
                                                                                                                           Attari's Calculated WTI ICL Futures                    Returns & Dr. Attari's Calculated WTI
                                                                                                                                       Index Returns                                    ICL Futures Index Returns
                                                                                                                                                     Days with No News,                 Days with No News,
                                                 Material                        Days with No News,                           Material               Analyst Reports, or    Material   Analyst Reports, or SEC
               Statistic                      Announcements                  Analyst Reports, or SEC Filings               Announcements                SEC Filings      Announcements         Filings

                  N                                     9                                    118 (1)                                 9                        118 (2)                      9                        118 (3)


     Significant Days at 95%
                                                        5                                       4                                    5                           3                         5                           5
        Confidence Level

    % Significant Days at 95%                                  (4)                                                                          (5)                                                  (6)
                                                   55.56%                                    3.39%                              55.56%                        2.54%                   55.56%                        4.24%
        Confidence Level

         Average Absolute
                                                   22.92% (7)                                2.09%                              22.82% (8)                    2.07%                   22.82% (9)                    2.05%
         Abnormal Return


                                                            (10)                                                                         (11)                                                  (12)
   Average Volume (Millions)                         0.13                                     0.02                                0.13                         0.02                    0.13                          0.02


Notes:
(1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 118 days with
no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
(12/24/2013 and 10/14/2014), have been added as news dates.
(2) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 118 days with
no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
(12/24/2013 and 10/14/2014), have been added as news dates.
(3) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 (along with results for 7/31/2015 due to the news released after market hours on 7/30/2015). For the purposes of this analysis, I selected the 118 days with
no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
(12/24/2013 and 10/14/2014), have been added as news dates.
(4) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
(5) 55.56% rate of statistical significance is statistically significantly different than 2.54% at the 99% confidence level.
(6) 55.56% rate of statistical significance is statistically significantly different than 4.24% at the 99% confidence level.
(7) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means at the 99% confidence level.
(8) 22.82% absolute return is statistically significantly different than 2.07% based on a t-test for difference of means at the 99% confidence level.
(9) 22.82% absolute return is statistically significantly different than 2.05% based on a t-test for difference of means at the 99% confidence level.
(10) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(11) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.
(12) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.




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                                    Appendix A
                                Documents Considered

  Previous Reports in This Matter
     •   Expert Report of Chad Coffman, CFA, April 19, 2019, including all data and documents
         included in Appendix A of that report.
     •   Expert Report of Dr. Mukarram Attari, PhD, May 13, 2019, including all data, analyses,
         and back-up materials provided by Dr. Attari to counsel for Lead Plaintiff that Dr. Attari
         claims to have considered in connection with this report.
  Court Documents
     •   Expert Report of Dr. Mukarram Attari, in Dalton Petrie, et al, v Electronic Game Card,
         Inc., et al, and Penny Pace, et al, v. Timothy Quintanilla, et al, No. 10‐0252 and 14‐2067,
         filed June 1, 2015 (C.D. California).
     •   Gaynor v. Miller, No. 15-cv-545, 2018 WL 3751606 (E.D. Tenn. Aug. 6, 2018)
     •   KPMG LLP’S Memorandum of Law in Support of its Motion to Exclude the Reports and
         Testimony of Chad Coffman, filed May 21, 2019 No. 3:16-cv-00121-TAV-DCP (E.D.
         Tennessee)
     •   Opposition of KPMG LLP to Plaintiff’s Motion to Certify the Classes, Appoint Class
         Representatives, and Appoint Class Counsel in Lewis Cosby et al. vs KPMG LLP, filed
         May 21, 2019, No. 3:16-cv-00121-TAV-DCP (E.D. Tennessee).
     •   Second Amended Class Action Complaint in Lewis Cosby, et al. vs KPMG LLP, filed
         September 15, 2017, No. 3:16-cv-00121 (E.D. Tennessee).
  Depositions
     •   Deposition of Chad Coffman, CFA, April 12, 2019.
     •   Deposition of Chad Coffman, CFA, April 25, 2019.
     •   Deposition of Dr. Mukarram Attari, Ph.D. June 6, 2019.
  Court Decisions and Securities Law
     •   Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, § 8.6. (Aug. 1988).
     •   Cammer, et al., v. Bruce M. Bloom, et al., 711 F. Supp. 1264 (D.N.J. 1989).
     •   Dr. Joseph Kasper v AAC Holdings et al, No. 15-cv-00923-JPM-jsf (M.D. Tenn.)
     •   Hatamian v. Advanced Micro Devices, Inc., No.4:14-cv-00226 (N.D. Cal.).
     •   Laborers Pension Trust Fund – Detroit, vs. Conn’s, Inc., 4:14-cv-00548 (S.D. Tex.).
     •   Leon D. Milbeck v. TrueCar Inc, No. 2:18-cv-02612 (C.D. Cal.).
     •   Private Securities Litigation Reform Act of 1995, dated December 22, 1995, 737, 748-49.
     •   Memorandum and Order filed May 20, 2014, in re: BP p.l.c Securities Litigation, MDL
         No: 10-md-2185, Civil Action No. 4:10-md-2185 (S.D. Texas).
  Security Data
     •   Data on institutional holdings obtained from Bloomberg using the HDS function.




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  News Articles and Earnings Calls
     •   “Camber Energy, Inc. Announces That It Has Regained Compliance with All NYSE
         American Continued Listing Standards,” Accesswire, June 5, 2019.
     •   “Glacier Oil & Gas Corp. FQ4 2014 Earnings Call Transcripts” S&P Capital IQ. 15 July
         2014. Web. 3 June 2019.
     •   “How to Play Preferreds,” MoneyShow, 2017.
     •   “Novan Achieves Compliance with Nasdaq Listing Rule 5450(b)(2)(A),” Globe
         Newswire June 6, 2019.
     •   “ReWalk Robotics Regains Compliance with Nasdaq Listing Rules 5550(a) and
         5550(b),” Globe Newswire, April 26, 2019.
     •   “Press Release: Miller Energy Provides Details Concerning Recent Events Including
         Receipt of NYSE Continued Listing Notice,” Dow Jones Newswires, April 29, 2015.
     •   “Press Release: Miller Energy Defers Cash Dividends on Its Series C and Series D
         Preferred Stock,” Dow Jones Newswires, May 6, 2015.
  Miller Energy Analyst Reports
     •   “LOWERING TARGET: Notices Raise Concerns, But Liquidity Appears Stable,
         Maintain Buy Rating,” MLV & Co. LLC, May 1, 2015.
     •    “MILL releases unaudited fourth quarter and fiscal 2015 results,” Noble Financial
         Capital Markets, July 30, 2015.
     •    “Miller Energy Resources: Slightly Lower on Higher Payments, Timing of Production
         Key,” SunTrust Robinson Humphrey, August 30, 2011.
     •    “TURNING THE CORNER: Kitchen Sink of a Quarter Could Mark a Bottom, New
         Strategy in Place," MLV & Co. LLC, December 10, 2014.
  Academic Articles
     •   Aharony, Joseph and Itzhak Swary, “Quarterly Dividend and Earnings Announcements
         and Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance 35(1)
         (1980).
     •   Binder, John, “The Event Study Methodology Since 1969,” Review of Quantitative
         Finance and Accounting 11 (1998).
     •   Brealey, Richard A and Stewart C. Myers, Principles of Corporate Finance, McGraw-
         Hill, 1988, Third Edition.
     •   Brealey, Richard A and Stewart C. Myers, Principles of Corporate Finance, McGraw-
         Hill, 2010, Tenth Edition.
     •   Brigham, Eugene F. and Joel F. Houston. Fundamentals of Financial Management,
         Eighth Edition, The Dryden Press, 1998.
     •   Emanuel, David. “A Theoretical Model for Valuing Preferred Stock.” The Journal of
         Finance, vol. 38, no. 4, 1983.
     •   Ferrillo, Paul A., Frederick C. Dunbar, PhD, and David Tabak, PhD, “The ‘Less Than’
         Efficient Capital Markets Hypothesis: Requiring More Proof From Plaintiffs In Fraud-
         On-The-Market Cases,” St. John’s Law Review, Vol. 28(1), 2004.
     •   Greene, William, Econometric Analysis, MacMillan, 1990.
     •   Harris, Lawrence E., “Minimum Price Variations, Discrete Bid-Ask Spreads and
         Quotation Sizes,” The Review of Financial Studies, v.7 (1), 1994.



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     •    Gujarati, D., Basic Econometrics, Third Edition, McGraw Hill, 1995.
     •    J. M. Jr., “Redemption of Preferred Shares,” University of Pennsylvania Law Review and
          American Law Register, v. 83, (7) 1935.
     •    MacKinlay, A. Craig, “Event Studies in Economics and Finance,” Journal of Economics
          Literature 35(1) (1997).
     •    Reilly, Frank K. and Keith C. Brown, Investment Analysis and Portfolio Management,
          The Dryden Press, Sixth Edition, 2000.
     •    Sanger, Gary C. and James D. Paterson, “An Empirical Analysis of Common Stock
          Delistings,” The Journal of Financial and Quantitative Analysis, Vol. 25 (2), 1990.
     •    Tabak, David “Use and Misuses of Event Studies to Examine Market Efficiency,” NERA
          Economic Consulting, September 11, 2009.
     •    Tabak, David. “What We Should Expect When Testing for Price Responses to News in
          Securities Litigation,” NERA Economic Consulting, 2016.
     •    Tabak, David I. and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in
          the Courtroom,” in Litigation Services Handbook, The Role of the Financial Expert,
          Third Edition, Wiley, 2001.
  Other
     •    http://www.dtcc.com/about/businesses-and-subsidiaries/dtc
     •    https://www.cmegroup.com/trading/why-futures/welcome-to-nymex-wti-light-sweet-
          crude-oil-futures.html
     •    https://indexes.nasdaqomx.com/docs/methodology_COMP.pdf
     •    https://www.sec.gov/divisions/corpfin/guidance/safinterp.htm
     •    https://www.theice.com/products/213/WTI-Crude-Futures




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